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                      UNITED STATES COURT OF APPEALS
                           FOR THE FIRST CIRCUIT


                                      No. 10-1959


                     IN RE: PHARMACEUTICAL INDUSTRY
                   AVERAGE WHOLESALE PRICE LITIGATION


                        REPLY BRIEF OF APPELLANT
                      DONALD E. HAVILAND, JR., ESQUIRE


                Appeal from the June 22, 2010 Order of the District Court
                 barring Appellant from ever “serv(ing) as class counsel
                 in any federal litigation involving challenges to AWP.”




                                         Donald E. Haviland, Jr., Esquire
                                         Michael J. Lorusso, Esquire
                                         Haviland Hughes, LLC
                                         111 S. Independence Mall East, Suite 1000
                                         Philadelphia, PA 19106
                                         (215) 609-4661

                                         Attorneys for Appellant




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    I.    ARGUMENT

          A.     The District Court Has Clarified, Modified And/Or Amended the
                 June 22, 2010 Order to Omit Its Extra-Territorial Application,
                 Thereby Warranting that the Existing Order Be Vacated by This
                 Court.

                 1.     The district subsequently modified the Order that is the
                        subject of this appeal.

          Importantly, for purposes of this appeal, the June 22, 2010 Order has been

    modified significantly by subsequent clarification of the district court made at a

    hearing held March 28, 2011 (attended by both Appellant and Appellees).

          On Monday, March 28, 2011, the district court held a Final Fairness Hearing

    ("Fairness Hearing") respecting a proposed settlement with one of the defendants,

    Bristol-Myers Squibb ("BMS"), in the underlying case, In re Pharmaceutical

    Industry Average Wholesale Price Litigation, C.A. No. 01-12257. During the

    course of the Fairness Hearing, the district court raised the matter of this appeal

    sua sponte with Appellant. This is significant because, as this Court knows, the

    subject June 22, 2010 Order is wholly contained within a two-line electronic order,

    which contains no further detail as to the district court’s reasoning for issuing the

    Order. As set forth in Appellant’s initial Brief (at pages 41-46), one of the main

    issues on this appeal is the failure of the district court to hold a hearing before

    issuing the injunction against the future practice of law in any federal court

    respecting cases challenging AWP. In the absence of such hearing, or statement of
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    the court’s reasons for the subject Order, Appellees are free to ascribe any

    interpretation of the court’s Order that suits their purpose of trying to defeat this

    Court’s jurisdiction over the appeal. See discussion infra. at Section C (addressing

    this Court’s functional approach to determining whether an Order constitutes an

    injunction in the absence of any explicit “verbiage” about “enjoining” a party).

    This lack of clarity of the Order, as written, makes the district court’s subsequent

    comments critical to the outcome of this appeal.

          Based upon the transcript of the Fairness Hearing¹, Appellant respectfully

    submits that the June 22, 2010 Order has been substantially modified by the district

    court’s comments at the March 28, 2011 Fairness Hearing. At that hearing, the

    court indicated, for the first time on the record, what it actually intended by its June

    22, 2010 Order. As discussed more fully below, such a modification post-appeal is

    well within the purview of the district court, and should control this Court’s

    determination. See Fed.R.App.P. 10(e) (the district court is free to modify the

    record about “what occurred in the district court” respecting an Order on appeal).

          Appellees variously maintain in their brief that the June 22, 2010 Order was,




    ¹ Appellant has filed, contemporaneously with this Reply Brief, a Motion to Correct
    or Modify the Record pursuant to Pa.R.App.Proc. 10(e). The Motion seeks to
    supplement the record on this appeal with the transcript of the March 28, 2011
    hearing.
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    at the same, (1) a sanction, 1 (2) a “condition” imposed on voluntary dismissal, 2 and

    (3) a “reiteration” of a prior Order. 3 It cannot be all three. The fact that Appellees

    are free to ascribe whatever label suits their claims on this appeal, no matter how

    different and inconsistent the labels are, demonstrates that the June 22, 2010 Order

    is far from clear as to what it is actually intended to be.

          Appellees claim in their Brief that "[t]he Order has no effect on (1)

    [Appellant's] ability to represent clients in state court cases involving challenges to

    AWP; (2) [Appellant's] ability to serve as class counsel in cases that involve - but

    do not 'challenge' - AWP; or (3) [Appellant's] ability to represent clients in actions

    not brought as putative class actions." Id. at 41. Appellees then claim that

    Appellant is "wrong that the Order 'bar[s] an attorney from ever practicing law in

    federal court with respect to a broad subject matter." Id. Until the recent Fairness

    Hearing, Appellees’ arguments were little more than their own ipse dixit

    interpretations of the plain language of the Order, which states that "[Appellant]

    may not serve as class counsel in any federal litigation involving challenges to


    1 Appellees Br. at 27 (contending the sanctions order are not immediately
    appealable), 41(the subject Order “imposes no greater sanction on Haviland than
    the disqualification order”)
    2 Appellees Br. at 1, 20, 36 (contending that the court was free to impose any
    “condition” on its order granting the plaintiffs voluntary dismissal of their claims)
    3 Appellees Br. at 21(contending that the Order "did nothing more than reiterate
    the District Court's January 2008 disqualification of Haviland as Class
    Counsel.")(Emphasis added)
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    AWP."

          At the Fairness Hearing, the district court made a number of statements on

    the record that indicate that perhaps the district court did not intend its Order to

    have the expansive scope that it appears to have on its face. The following

    relevant exchange took place at the Fairness Hearing:

          APPELLANT: I took the appeal of Johnson & Johnson on behalf of
          Shepley, and your Honor pointed out, "Boy, I wish someone had pointed out
          to me that I had dismissed the whole class." Well, we took that appeal. And
          then you disqualified my firm, myself, and they [Appellee counsel]
          substituted in. My clients are not happy at all with how that case is going,
          and they withdrew. And your Honor now has a sanction order against me
          that we've had to appeal because, you know --

          THE COURT: Well, where is that?

          APPELLANT: It's in the First Circuit now because you have a sanction
          against me ever being class counsel, and I just can't have that --

          THE COURT: Never being class counsel -- no, here, here.

          APPELLANT: No, no, anywhere, your Honor, you said anywhere.

          MR. MATT [Class Counsel]: In AWP-related litigation.

          THE COURT: In AWP.

          APPELLANT: In a Federal Court.

          THE COURT: In AWP.

          APPELLANT: In a Federal Court, you said I cannot be class counsel --

          THE COURT: Yes, but not ever in any case from the beginning of time.
          At least I didn't plan to do that. I mean –
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    Mar. 28, 2011 Tr. at 47:24-48:23 (emphasis added).

          Although the June 22, 2010 Order was not an appropriate injunction for the

    reasons discussed in Appellant’s opening Brief (and below), the district court's

    clarification assuages some of Appellant's concerns regarding the expansive scope

    of the injunction. The district court’s clarification that the injunction only

    extended to AWP case brought before Judge Saris as part of MDL 1456 should be

    dispositive of the issue that the injunction issued was improperly overbroad.

          Judge Saris’s recent restriction of the expansive scope of the injunction was

    headlined previously at an earlier hearing wherein Appellee Class Counsel asked

    the court for a sanction. See generally, March 31, 2010 Transcript. At that

    hearing, Judge Saris stated, " I am not going to just bar an entire class that may

    have a viable claim under the law of New Jersey or something. Now, if [Mr.

    Haviland] brings it, why do I care if it's just a state law claim?" March 31, 2010

    Tr. at 14:2-6. The district court stated further:

          [Mr. Haviland] can't do anything in Federal Court without it coming to me,
          as a practical matter, but, I mean, he could do just a state-only class for each
          of those people, right? Why would I prejudice him from being able to do
          that if I didn't have anything here? So that's why it's paramount for you to
          find somebody [as a substitute class representative].

    Id. at 14:25-15:9. Judge Saris then proceeded to deny the pending Motion for

    Sanctions, expressly finding that “there is no prejudice to the class as the Court

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    gave class counsel time to find new class representatives.” APP 595. The fact of

    this denial should be dispositive of the issue of whether the June 22, 2010 Order is

    a sanction. It is not.

          The district court's comments regarding the narrower scope of the intended

    injunction than the Order presently provides warrants this Court vacating the

    instant Order as overbroad. Since the existing Order, as written, bars Appellant

    from ever serving as class counsel in any federal court – including those outside of

    the District of Massachusetts – the Order must be vacated because Judge Saris

    admittedly “didn’t plan to do that”. Mar. 28, 2011 Tr. at 48:23.

                 1. The District Court May Correct Omissions From, Or
                    Misstatements In, the Record For Appeal

          The Federal Rules of Appellate Procedure provide guidance for this very

    situation, that is, where something that occurred in the district court is rendered

    unclear on appeal by subsequent events on the record below.

          Appellate Rule 10 provides in pertinent part:

          (e) Correction or Modification of the Record.

                 (1) If any difference arises about whether the record truly discloses
                     what occurred in the district court, the difference must be
                     submitted to and settled by that court and the record conformed
                     accordingly.

                 (2) If anything material to either party is omitted from or misstated in
                     the record by error or accident, the omission or misstatement may
                     be corrected and a supplemental record may be certified and
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                    forwarded:


                        (A) on stipulation of the parties;
                        (B) by the district court before or after the record has been
                        forwarded; or
                        (C) by the court of appeals.

                 (3) All other questions as to the form and content of the record must
                 be presented to the court of appeals.

    Federal Rules of Appellate Procedure Rule 10, 28 U.S.C.A.

          Initially, it should be noted that Civil Rule 75 (1946) was the predecessor to

    current Rule 10(e), and contained nearly identical, verbatim language to the current

    Rule, as cited in many appellate cases herein. Consistently, the appellate courts

    have held that when the district court record is unclear, for any reason, or if

    something is misstated in the record, the district court record may be corrected or

    modified, or even supplemented, by either the district court or the court of appeals.

    See Gunther v. E. I. Du Pont De Nemours & Company, 255 F.2d 710, 716 (4th Cir.

    1958) (wherein the district court corrected the record upon consideration of the

    dispute of the record by the parties, and the court of appeals upheld the

    determination made by the district court, holding, “the practice to be followed

    when a controversy of this sort occurs is set out in Rule 75(b) of the Federal Rules

    of Civil Procedure, which provides that if any difference arises as to whether the

    record on appeal truly discloses what occurred in the District Court the difference

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    shall be submitted to and settled by that court and the record made to conform to

    the truth…Obviously this determination should be upheld unless it was clearly

    unreasonable. In our opinion it was correct”); see also, Belt et al. v. Holton, 197

    F.2d 579, 581, 90 U.S.App.D.C. 148, 150 (D.C. Cir. 1952) (wherein the court held

    that “these provisions of Rule 75 and the decisions which have given effect to the

    rule make clear that if any difference arises as to whether the record truly discloses

    what occurred in the district court, the difference shall be submitted to and settled

    by that court and the record made to conform to the truth”); Kennedy v. United

    States, 115 F.2d 624, 625 (9th Cir. 1940) (affirming that Rule 75 gives to both the

    district court and to court of appeals the power to correct the record only as to what

    occurred in the district court, not to add or cause to be added to the record findings

    which were never made).

          Courts have been careful when interpreting Appellate Rule 10 to note that

    the district court, or alternatively, the court of appeals, may correct or modify the

    record, but may not introduce new matters into the court of appeals that were not

    raised in the record before the district court. "The purpose of the rule is to allow

    the district court to correct omissions from or misstatements in the record for

    appeal, not to introduce new evidence in the court of appeals.” S & E Shipping

    Corp. v. Chesapeake & Ohio Railway Co., 678 F.2d 636, 641 (6th Cir. 1982). The

    rule should be applied to ensure the truth of the district court record that is to be
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    considered on appeal. “The rule is properly used to ensure that the record before

    the court of appeals is accurate.” Id.

          Here, Appellant is not requesting that this Court alter the record in any

    material respect. Appellant is not seeking to introduce new evidence. Appellant

    simply submits that this Court respectfully should acknowledge that the record

    presently before it is inaccurate insofar as it does not reflect any statement by

    Judge Saris as to what she intended by her June 22, 2010 Order. The transcript of

    the Fairness Hearing presents an appropriate correction or modification of the

    record (under Appellate Rule 10) by which Judge Saris has corrected the Order as

    it presently reads to remove any bar against future representation as class counsel

    in any federal court in any case involving AWP. The modification makes clear

    that the scope was intended to be limited to cases which might come before Judge

    Saris as part of MDL 1456. 4

          Courts have routinely acknowledged that the court of appeals may correct or

    modify the district court record. “To be sure, ‘if anything material to either party is

    omitted from or misstated in the record by error or accident,’ Rule 10(e)(2) allows

    ‘the omission or misstatement [to] be corrected and a supplemental record [to] be

    4 Appellant’s opening brief contains a lengthy discussion about how the district
    court erred extending beyond its authority under 28 U.S.C. §1407 in seeking to
    impose a prospective bar on future representation in any future case filed in any
    federal court before such case was transferred to the District of Massachusetts as
    part of MDL 1456. Appellant’s Brief at 35-41.
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    certified and forwarded.’ Fed. R.App. P. 10(e)(2). Among the individuals or

    entities specifically authorized to thus correct and supplement the record,

    moreover, is ‘the court of appeals.’ Fed. R.App. P. 10(e)(2)(C).” United States v.

    Husein, 478 F.3d 318, 335 (6th Cir. 2007); see also, Inland Bulk Transfer Co. v.

    Cummins Engine Co., 332 F.3d 1007, 1012 (6th Cir.2003) (wherein the court of

    appeals made a determination as to the district court record, but cautioned that new

    material not considered or reviewed by the district court could not be introduced on

    appeal to supplement the record).

          “Tension arguably exists between Rule 10(e)(1) and (e)(2) as to whether

    parties must initially seek relief from the district court or whether they have the

    option to proceed in the court of appeals. In our view, parties should generally seek

    relief initially from the district court. Nevertheless, the rule plainly states that

    either court has the power to resolve a dispute over the record in the first instance.”

    United States v. Zichettello, 208 F.3d 72, 93 (2nd Cir. 2000). While the district

    court may correct or modify the record, should this Court find that Judge Saris’

    statements from the bench do not qualify as a “correction or modification of the

    record” under Rule 10, this Court also has the power to resolve the ambiguity that

    currently exists in the wording of the Order of June 22, 2010. Appellant

    respectfully submits that the appropriate course would be to vacate the existing

    Order, and remand with direction as to the appropriate scope of the district court’s
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    authority to enjoin lawyers practicing in federal court.

          When a district court has corrected or modified the record, absent

    unreasonableness, their opinions are usually upheld. See, e.g, United States v.

    Garcia v. Hambrick, 997 F.2d 1273, 1278 (9th Cir. 1993) (affirming the district

    court’s decision to correct the record by entering an order that had been proposed,

    but was overlooked during the district court trial. “When the district court under

    Rule 10(e) settles a dispute about what occurred in proceedings before it, ‘the

    court's determination is conclusive ‘absent a showing of intentional falsification or

    plain unreasonableness.’ ” Id. (quoting United States v. Serrano, 870 F.2d 1, 12

    (1st Cir.1989)). The appellate courts have consistently upheld corrections or

    modifications of the record made by the district court so that the record on appeal

    is clear. “We of course give great deference to the district court's view and ‘must

    accept the [district] court's reconstruction of the record under Federal Rule of

    Appellate Procedure 10[e] unless it was intentionally falsified or plainly

    unreasonable.’ ” United States v. Zichettello, 208 F.3d 72, 93 (2nd Cir. 2000),

    quoting United States v. Keskey, 863 F.2d 474, 478 (7th Cir.1988); see also United

    States v. Mori, 444 F.2d 240, 246 (5th Cir.1971) (stating that the trial court's

    “determination, absent a showing of intentional misrepresentation or plain

    unreasonableness, is conclusive”).

          This Court has held that district courts within the First Circuit also may
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    supplement the record to correct or modify the record before the court of appeals.

    In United States v. Andiarena, 823 F.2d 673, 676 (1st Cir. 1987), this Court cited

    Rule 10(e) in holding that, “the District Court properly supplemented the record by

    forwarding to this court the 25-page transcript of the nine tape recordings played

    before the jury.” The Court noted that the record before it was then complete after

    the subsequent submission of the transcript. Id.

          Appellant in this case seeks to have the existing record on appeal

    supplemented by the transcript of the March 31, 2011 Fairness Hearing. 5 If

    allowed, the record before this Court would be complete as to the Order on appeal;

    that is, that the subject Order, which has been interpreted differently by the parties

    on appeal, has been clarified by Judge Saris such that what was intended can be

    reasonably debated. “In general, the appellate court should have before it the

    record and facts considered by the District Court.” United States v. Barrow, 118

    F.3d 482, 487 (6th Cir. 1997). By his motion to supplement the record – filed

    contemporaneously with this Reply Brief -- Appellant respectfully seeks to have

    the record supplemented so that this Court has before it a complete record about

    the meaning of the June 22, 2010 Order. On March 28, 2011, the district court

    removed any doubt as to the extra-territorial effect of the injunction imposed. As

    5 Appellant has filed a Motion for Leave to Include an Addendum to the
    Appellant’s Reply Brief, seeking to add to the record the transcript of the Fairness
    Hearing.
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    discussed further below, the district court never intended its order to enjoin

    Appellant from ever representing any class of persons who may be affected by

    issues involving AWP beyond the claims and cases properly before the District of

    Massachusetts as part of MDL 1456. March 28, 2011 Tr. at 48:8-23.

          In view of the “correction or modification of the record” rendered by Judge

    Saris’s clarification of her June 22, 2010 Order at the March 28, 2011 hearing,

    Appellant respectfully requests that the Order be vacated by this Court, and

    remanded with appropriate direction as to any future Order the district court might

    issue on the subject, after a hearing which affords Appellant due process.

          B.     The June 22, 2010 Order Should Not Have Been Entered Because
                 the District Court Has Clarified Its View that Appellant's Clients
                 Withdrew From the Case Years Before the Notice of Withdrawal
                 Was Filed.

          The district court also made clear at the Fairness Hearing its belief that

    Appellant's clients had withdrawn from the case and their role as court-appointed

    class representatives in August 2007. 6 This is critically important because the

    impetus for the court’s injunction, as Appellees contend, was the requested

    withdrawal of Appellant’s clients from the case. As set forth below, since the

    district court has further clarified its position on the matter of the withdrawal to


    6 Appellant’s clients all were appointed as named class representatives for the
    certified litigation classes of consumers in MDL 1456 in January 2006. See In re
    Pharmaceutical Industry Average Wholesale Price Litig., 233 F.R.D. 229 (2006).
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    now hold that the Shepleys and Mr. Young actually withdrew from the case in

    2007 -- and not in 2010 - there was no need for Appellant to file the Notice of

    Voluntary Dismissal. In other words, since the district court had deemed the

    Shepleys and Mr. Young to have withdrawn in 2007, their Notice of Voluntary

    Dismissal had no legal effect, and there was no basis for the court’s June 22, 2010

    Order, either as an injunction, a sanction or a “condition” on withdrawal (as

    Appellees contend). Indeed, had the district court made known its position that the

    clients had withdrawn as of 2007, Appellant never would have filed the Notice of

    Voluntary Dismissal on behalf of the clients, which Notice caused the court to

    enter its June 22, 2010 Order.

          By way of brief background, at the Fairness Hearing, Appellant presented an

    objection on behalf of one of his clients, Reverend David Aaronson, to the

    proposed certification of the settlement class and to the fairness, reasonableness

    and adequacy of the proposed settlement with Defendant BMS. Rev. Aaronson,

    along with his now-deceased wife, had previously been certified by the district

    court as the lone consumer class representatives for the BMS consumer litigation

    Sub-Class of Medicare beneficiaries. See id. Following his certification as class

    representative, Rev. Aaronson submitted an Affidavit in August 2007 in support of

    Appellant's Counter-Statement by Consumer Representative Plaintiffs to Joint

    Submission of Plaintiffs and Track Two Defendants Relating to August 27, 2007
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    Hearing. See Dkt. No. 4646. In his Affidavit, Rev. Aaronson stated as follows:

           "[b]ecause I rely exclusively on Mr. Haviland to tell me about the litigation,
           and I trust Mr. Haviland to represent the best interests of consumers like me
           in the lawsuit, I respectfully submit that Mr. Haviland and his firm should be
           appointed Class Counsel to represent the Class of consumers in this case. If
           Mr. Haviland and his firm cannot serve as Class Counsel, I would like to
           withdraw as a class representative."

    Dkt. No. 4649 at ¶9 (emphasis added). Similar affidavits were filed by Mr.

    Haviland’s other clients, including Mrs. Shepley and Mr. Young (who were

    certified class representatives of the Johnson & Johnson consumer Sub-Class)

    which contained similar language. See, e.g., Dkt Nos. 4647-4650 and 4652-4653.

    While the district court manifested its ire about the position of Appellant’s clients

    in its January 3, 2008 disqualification order (Dkt. No. 4972), it was silent about its

    belief – apparently at the time – that, by taking such position, these clients had

    effectively withdrawn from the lawsuit.

          Instead, at the March 31, 2011 Fairness Hearing, the district court remarked,

    for the first time, as follows:

          THE COURT: Now, it may be that we didn't cross the T and dot the I. I
          deemed that [position taken in the Affidavits] a withdrawal. Now, maybe I
          should have issued an order deeming them no longer class reps, but, you
          know, no one asked me to and I didn't do it. But I remember at the time
          distinctly believing, because I remember there was then a problem with the
          class, and I said, "Can you find someone else?" Wasn't that how this all
          evolved? I remember thinking that that might undercut the whole class
          action, and I think I deemed it, and I think no one disabused me of it, as a
          withdrawal that might undermine the viability of the class.

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    March 28, 2011 Tr. at 48:1-11 (emphasis added).

          In response, Appellant told the district court that he did not understand the

    court to have deemed the affidavits as effectuating a withdrawal, nor did he think

    that anybody else did. However, the court directly replied that, "[Appellees] must

    have [had that understanding] because they went out and got someone else [to

    serve as the class representative for the case against BMS]." Id. at 47:2-5.

    Appellees have never denied on the record that they had such understanding; they

    certainly did not do so at the Fairness Hearing. What is significant for purposes of

    this appeal, however, is the fact that Appellant expressly advised the district court

    that he did not have such understanding, which is the only reason he filed the ill-

    fated Motion for Voluntary Dismissal that brought about the overbroad and

    unnecessary injunction.

          Following the discussion regarding the intended scope of the Order,

    discussed above, the court then addressed the client affidavits again, stating "[s]o

    they said, 'we're not happy the way things are going, and, therefore, if he's not

    counsel, we don't want to be part of this.' I remember viewing that as a

    withdrawal." Id. at 49:20-23. The court repeatedly made clear its belief that Mr.

    Haviland’s clients had withdrawn from the case. See id. at 52:25-53:4 ("MR.

    HAVILAND: All right. So if [Reverend Aaronson is] disqualified when I was

    disqualified, then you're right, he's not here as a representative, and he's here just as
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    an objector. THE COURT: I didn't disqualify him. He withdrew...."). Affirming

    their understanding that a prior withdrawal had been effectuated in 2007, Appellee

    counsel prompted the district court by reading from the actual language of the

    Aaronson affidavit (Dkt. No. 4649). Id. at 61:9-16. The district court then

    reiterated its position one last time, stating directly to Appellee counsel, "all right,

    so you've reminded me, his guy withdrew." Id. at 62:5-6 (emphasis added).

          What is most troubling about this case – and, in turn, the appeal it has

    engendered – is the fact that the district court and Appellee counsel appear to have

    been on the same page about the status of Appellant’s clients, and yet neither Mr.

    Haviland nor his clients had any such understanding. Because it was not known to

    Appellant (or his clients) that the district court and Appellee counsel had both

    deemed the 2007 affidavits as effectuating a withdrawal of the clients from the

    case, Appellant filed the Notice of Voluntary Dismissal, at the request of his

    clients, to try to remove them from the case. This pleading was wholly

    unnecessary, based upon what the district court and Class Counsel already knew

    and believed.

          The same is true of Appellee counsel’s Motion for Sanctions: it was wholly

    unnecessary, if not patently frivolous. 7 The Motion disingenuously sought a


    7 Rule 11 requires counsel who file pleadings in federal court to certify “that to the
    best of the person’s knowledge, information and belief, formed after an inquiry
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    sanction against Mr. Haviland for seeking to accomplish what Class Counsel now

    concede already had been done: having Mr. Haviland’s clients withdraw from the

    case. Indeed, Class Counsel’s Motion for Sanctions was premised solely on their

    claimed belief that Mr. Haviland had intentionally "waited until the eve of oral

    argument so that this actions could inflict the most harm on Class Counsel and the

    J&J Class." Appellee Brief at 4 (emphasis in original). However, as Appellees

    acknowledge, "[Mr.] Haviland stated that the withdrawing plaintiffs had been

    intending to withdraw from the case for over two years." Id. (citing App at 1581-

    82). It took the subsequent March 31, 2011 Fairness Hearing, however, to discover

    that both the district court and Class Counsel already believed that Mr. Haviland’s

    clients had withdrawn two years earlier.

          For this reason alone, the district court’s June 22, 2010 Order, issued in

    response to the Motion for Voluntary Withdrawal, should be vacated. It seeks to

    perpetually enjoin Mr. Haviland under false pretenses: he allegedly sought to

    withdraw his clients from a case which the district court already had deemed them

    to have withdrawn.

          C.    This Court Has Jurisdiction Over this Appeal, Whether the
          District Court’s Order Is Viewed as an Injunction or a Sanction.


    reasonable under the circumstances … the claims [made in the motion] are
    warranted … [and] the factual contentions have evidentiary support…”.
    Fed.R.Civ.Proc. 11(b)(2), (3).
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          While it is extremely difficult to understand from their Brief what Appellees

    contend the subject Order actually is, they clearly concede that the June 21, 2010

    Order is not a sanction because their Motion for Sanctions was denied.

    Accordingly, under this Court’s functional approach to such determinations, the

    subject Order should be deemed an injunction immediately appealable to this Court

    pursuant to 28 U.S.C. §1292(a)(1).

                 1.     The June 22, 2010 Order is not a sanction.

          As Appellees' brief makes clear, Class Counsel sought an order imposing

    sanctions on Appellant for filing the Notice of Voluntary Dismissal and "the

    District Court denied Class Counsel's Motion for Sanctions, finding that '[w]hile

    the timing of the Motion to Withdraw is troublesome, there is no prejudice to the

    class as the Court gave class counsel time to find new representatives." Appellee

    Brief at 14-15 (citing APP 595). In fact, the district court denied the Motion for

    Sanctions the very same day that it entered the subject Order barring Appellant

    from ever serving as class counsel in any federal litigation involving challenges to

    AWP. It is illogical to argue that the subject Order constitutes a sanction in the

    face of the express denial of Appellees' Motion for Sanctions and explicit finding

    that the Notice of Withdrawal did not prejudice the class.

          Further, the fact that the district court did not make any findings to support

    the subject Order is consistent with the otherwise clear fact that the Order is not a
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    sanction. See In re Williams, 156 F.3d 86, 89 (1st.Cir. 1998) ("Imposing sanctions

    against counsel is a serious matter. Hence, when a federal court deems such a

    course appropriate, it must make specific findings in support of its order.") (citing

    Navarro-Ayala v. Nunez, 968 F.2d 1421, 1427 n. 5 (1st Cir.1992); Foster v. Mydas

    Assocs., 943 F.2d 139, 142-43 (1st Cir.1991)). Instead, in denying Appellees'

    Motion for Sanctions, the district court made a clear finding that Appellant's

    conduct did not prejudice the Class.

          Accordingly, the cases cited by Appellees for the proposition that sanctions

    are not immediately appealable are inapposite.

                 2. The June 22, 2010 is an injunction that is overbroad.

          As the Court is aware, Appellees previously moved to dismiss this appeal by

    labeling the Order a “sanction”. However, since that strategy failed to cause this

    appeal to be immediately dismissed, Appellees have abandoned that approach.

    They now concede that the Order is not a sanction. But, if it is not a sanction, then

    it must be an injunction, since substance and effect of the Order remains to prevent

    an attorney from prospectively serving as class counsel in any federal district court

    in perpetuity.

          The functional approach adopted by this Court in determining whether an

    order is an injunction leads to the inexorable conclusion that the Order in this case

    is an injunction. See Sierra Club v. Marsh, 907 F.2d 210, 213 (1st Cir. 1990);
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    United States v. Cities Serv. Co., 410 F.2d 662, 663 n. 1 (1st Cir. 1969); United

    States v. Platt Contracting Co., 324 F.2d 95, 97 (1st Cir. 1963). While the district

    court’s “verbiage” is silent as to whether the Order is an injunction, its “practical

    effect” shows it is appealable under 28 U.S.C. § 1292(a)(1). Morales Feliciano v.

    Rullan, 303 F.3d 1, 7 (1st. Cir. 2002); Micro Signal Research, Inc., v. Otus, 417

    F.3d 28, 33 (1st Cir. 2005)(holding that the substance, and not the name given in

    the order, controls whether an order amounts to an injunction). Perhaps the most

    analogous decision by this Court on this subject is the case of United States v.

    Alcon Laboratories, wherein this Court held that a district court order directing the

    FDA to “defer” future regulatory action constituted an injunction immediately

    appealable, despite the absence of the word “enjoin” in the order. United States v.

    Alcon Labs., 636 F.2d 876, (1st Cir. 1981).

          Appellees fail to address this Court’s functional approach to determining

    whether the subject Order is an injunction. This speaks volumes, especially since

    Appellees fail to cite, let alone discuss, any of the above-cited decisions of this

    Court in their brief, save one.8

          The district court’s June 21, 2010 Order (granting leave to withdraw to the

    Plaintiffs) was the judicial predicate for its entry of a prophylactic injunction in

          8 The one case Appellees mention in a footnote in their Brief is the Alcon
    case. But, the reference is not substantive; only dismissive.

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    that same Order against the Plaintiffs’ counsel. That Order has the effect of

    forbidding Appellant from representing any clients in any class action matter filed

    in the future

    in (or removed to) any federal forum where the subject matter involves the general

    subject matter of AWP. The absence of the term “enjoin” in the Order does not

    lessen the severity of the decree. It broadly prohibits future representation in

    federal court without any stated reason therefor.

          As discussed in Appellant’s opening brief, the district court’s Order made no

    findings of fact or conclusions of law respecting its decision to enjoin counsel from

    future litigation involving AWP. Indeed, the district court provided no analysis

    whatsoever respecting its decision to issue the injunction. The district court’s only

    arguable basis for its injunction exists in its separate Order denying a request for

    sanctions filed by Class Counsel. While that potential “rationale” consists of a

    passing reference to the timing of the Motion to Withdraw as being “troublesome”,

    it is expressly undermined by the subsequent finding that “there is no prejudice to

    the class” as a result of the filing and the leave of Court granted to Class Counsel

    “to find new class representatives.”

          Appellees’ effort to couch the June 22, 2010 Order as a “condition” imposed

    on the grant of voluntary dismissal – which appears nowhere in the four corners of

    the Order as written – is directly undermined by the district court’s statements at
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    the March 31, 2011 Fairness Hearing to the effect that it held the view that Mr.

    Haviland’s clients already had withdrawn two years earlier. See discussion supra.

    In view of this unambiguous clarification of its belief by the district court, this

    Court respectfully cannot lend credence to Appellees argument that the subject

    Order is merely a “condition”. United States v. Zichettello, 208 F.3d 72, 93 (2nd

    Cir. 2000) (“We of course give great deference to the district court's view and

    ‘must accept the [district] court's reconstruction of the record under Federal Rule

    of Appellate Procedure 10[e] unless it was intentionally falsified or plainly

    unreasonable.’”), quoting United States v. Keskey, 863 F.2d 474, 478 (7th

    Cir.1988).

          D.     The Injunction Was Overbroad, Unnecessary and Exceeded the
                 Bounds of the District Court’s Authority Under 28 U.S.C. § 1407.

          The Judicial Panel on Multi-District Litigation (“JPML”) vested the district

    court in this case with the limited power to oversee certain consolidated federal

    cases involving manipulation by certain drug companies of the “Average

    Wholesale Prices” (“AWP”) for their prescription drugs. See In re Immunex Corp.

    Average Wholesale Price Litig., 201 F.Supp. 2d 1378 (JPML 2002). It did not give

    the court unfettered jurisdiction over all matters filed, or to be filed in the future, in

    any federal district court in the country, involving AWP.

          Appellees do not argue to the contrary. Instead, they seek to put a “spin” on

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    the plain language of the court’s injunction by urging that it only applies in limited

    circumstances.

          In Appellant’s opening brief, he pointed out that there are other cases

    pending in courts other than Judge Saris’ court involving “challenges to AWP”.

    See, e.g, In re Lupron Marketing & Sales Practices Litig., Docket Nos. 04-2693

    and 04-8023 (1st Cir. 2004); National Ass’n of chain Drug Stores v. New England

    Carpenters Health Benefits Fund, 582 F.3d 30 (1st Cir. 2009)(approving

    nationwide class action settlement of AWP claims against wholesaler and price

    reporting service). While Appellees argue that the facts of these other cases is

    inapposite to the injunction issued, simply because Appellant is not class counsel

    (and has not sought to be class counsel) in any of those other cases, their argument

    misses the mark completely. The simple fact of the existence of these other cases

    involving “challenges to AWP” demonstrates that the district court’s injunction is

    overbroad and exceeded the bounds of its permissible authority. That is so

    because, as urged by Appellant, Judge Saris does not have the power to pre-

    determine who may serve as class counsel in any cases – already pending in state

    or federal court or to be filed in the future – involving “challenges to AWP.”

    Instead, the JPML would have to determine, in the first instance, whether a case

    filed in federal court (or removed to federal court from state court) was related to


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    MDL 1456 so as to warrant the issuance of a Conditional Transfer Order.9 Then,

    assuming the Panel determined the case belonged in MDL 1456 – which was not

    the case with respect to either the Lupron or McKesson cases cited by Appellant --

    under the JPML Rules, the parties would have the opportunity to file motions

    before the Panel challenging the Panel’s decision. In the case of an AWP case

    removed to federal court from state court (like the pending New Jersey AWP case

    in which Appellant currently serves as class counsel) 10, the party opposing federal

    jurisdiction also would have the right to seek remand prior to a decision to transfer

    by the JPML. See, e.g., Commonwealth of Pennsylvania v. TAP Pharmaceutical

    Products, Inc., 415 F.Supp. 2d 516 (E.D.Pa. 2005)(holding that the court must first

    satisfy itself that federal jurisdiction exists before allowing a removed case to be

    transferred to an MDL court)

          In other words, there is no guaranty that every case involving any challenge

    to AWP against any party based upon any theory of liability filed in, or removed


    9 Appellees’ claim that all “such actions would almost certainly be transferred to
    the District Court” has no legal or factual support in this record. Appellees’ Brief
    at 29.
           10
              The New Jersey case is titled, International Union of Operating
    Engineers, Local No. 68 Welfare Fund v. AstraZeneca PLC, et. al.. In In re AWP,
    431 F.Supp.2d 109 (D.Mass. 2006), Judge Saris found that, although the case
    arises out of the same alleged fraudulent scheme by the pharmaceutical company
    defendants to inflate the prices of drugs by misstating AWP of their drugs in
    industry publications, the case was properly remanded case back to state court.
    Appellant has been litigating the case as class counsel since the remand in 2006.
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    to, any federal district court anywhere in the country would automatically become

    subject to Judge Saris’s jurisdiction in MDL 1456. And yet, Judge Saris’s

    injunction seeks to predetermine the rights of the plaintiff(s) in those future cases

    to choose their class counsel: it could not be Mr. Haviland under any circumstance.

           No case demonstrates the improper scope and potential irreparable harm

    caused by the injunction than the pending New Jersey AWP case. Even though

    Appellant has served as class counsel in the case for nearly eight (8) years, if the

    case were to be removed to federal court – as has been done in the past 11 – Judge

    Saris’s injunction would immediately cause Appellant’s removal as class counsel.

          E.     That the District Court Failed to Hold a Promised Hearing Before
                 Issuing Its Sweeping Injunction Should Be Fatal to the Injunction
                 as it Deprived Appellant (and His Clients) of Procedural and
                 Substantive Due Process.

          Appellees urge this Court to excuse the fact that Judge Saris failed to hold a

    promised hearing before issuing the subject injunction. This is despite the fact that

    (1) Class Counsel expressly asked the court to hold a hearing, and (2) Judge Saris

    committed to doing so. See March 31, 2010 Tr. at 8:22-23 (Court: “So, you want


    11 Defendants in the New Jersey AWP case previously removed the case to federal
    court and successfully sought to have it transferred to MDL 1456. Even after the
    case was remanded back to state court, Defendants continue to seek to have Judge
    Saris enjoin the proceeding by an injunction. See App. 1033. The district court’s
    injunction improperly incentivizes defense counsel to devise some way to remove
    the case to federal court again simply to cause Appellant to be removed as class
    counsel.
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    me to just schedule a 23(e) hearing?” Class Counsel: “Yes. And we believe Mr.

    Haviland should be required to appear…”); 12:21 (Court: “[T]hen we’ll have a

    hearing, like, say in early May? Does that make some sense?”). They also admit

    that the factual record in support of the court’s injunction was not undisputed.

    Appellees Br. at 21(“In entering the Voluntary Dismissal Order, the District Court

    was entitled to rely on the mostly unrebutted facts presented by Class Counsel”).

          After Appellees filed their Motion for Sanctions, which Motion included a

    request for a hearing pursuant to Federal Rule 23(e), the district court scheduled

    such hearing for May 3, 2010. APP. 1578; March 31, 2010 Tr. at 8:14-17. On

    April 28, 2010, just days before the hearing, Appellees moved to vacate the

    hearing. Id. The court then issued an electronic order dated April 30, 2010,

    vacating the May 3, 2010 hearing and re-scheduling the hearing for June 21, 2010.

    Id.

          The timeline which followed the continuance has not been rebutted by

    Appellees in their brief.

          - On May 7, 2010, Appellant filed an Opposition to Class Counsel’s

              Motion for Sanctions. APP. 1581-1584. In the Opposition, Appellant

              expressly requested that the district court deny the Motion “based upon

              the evidence that will be elicited at the evidentiary hearing on this

              matter scheduled for June.” APP. 1583.
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          - The week before the June 21, 2010 evidentiary hearing, Appellant sought

                a continuance due to discovery demands and deadlines in the

                Pennsylvania AWP action, where Appellant serves as lead trial counsel.

                APP. 1610-1614. Directly contrary to Appellees’ claim that Appellant

                was seeking to avoid an evidentiary hearing respecting his conduct, 12 the

                Motion for Continuance expressly sought such a hearing to make clear

                the record on these issues. APP. 1612.

          By refusing to re-schedule the hearing, or otherwise act on Appellant’s

    request for a continuance, Appellant was deprived of the opportunity to develop a

    factual record to support his opposition of the Appellee’s Motion, which sought the

    injunctive relief ultimately ordered by the district court. Accordingly, this Court

    lacks a proper record for appellate review.

          As Appellant has argued, whether characterized as a sanction or an

    injunction, due process is required. Appellees offer no legal authority to the

    contrary.

          It is noteworthy that Appellees completely fail to address the Supreme

    Court’s decision in Chambers v. NASCO, Inc., 501 U.S. 32, 43 (1991), or the other

    decisions which stand for the proposition that when a court imposes sanctions, it

    12 Appellees wrongfully advised Judge Saris at the March 31, 2010 hearing that
    Mr. Haviland should be required to appear at the hearing because “he has indicated
    that he doesn’t want to” appear. March 31, 2010 Tr. at 8:25-9:1.
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    must afford the sanctioned party notice and an opportunity for a hearing. In re

    Cordova Gonzalez, 726 F.2d 16, 20 (1st Cir.1984); see also, Media Duplication

    Services, Inc., v HDG Software, Inc., 928 F.2d 1228, 1238 (1st Cir. 1991).13 A

    hearing was required. The district court failed to hold a hearing. This was error.

          Appellees do include reference to the case of U.S. v. Kouri-Perez, 187 F.3d

    1, 13 (1999)(cited by Appellant) in their brief. They do so without addressing the

    core point of that case: i.e., that the failure to hold a hearing prior to issuing a

    sanction is error. See Appellees’ Brief at 31. Instead, Appellees quote the case for

    the rather unremarkable proposition that courts have the “implicit powers … to

    sanction counsel”; this says nothing about the need for such court, considering a

    sanction, to give such counsel fundamental due process before issuing the sanction.

    U.S. v. Kouri-Perez, 187 F.3d at 13.

          It is particularly egregious that Appellees, having sought a hearing (but later

    abandoned that request), now seek to take liberties with the record in support of the

    district court’s Order. Repeatedly throughout their brief, Appellees make

    assertions of purported facts which are unsupported in the record and/or which

    were expressly denied by Appellant’s Brief in Opposition. On such a record, and

    13 Appellees also fail to address the other cases cited by Appellant in support of
    his claim of a denial of due process. See Roadway Express, 447 U.S. at 767;
    Societe Internationale Pour Participations Industrielles et Commerciales v.
    Rogers, 357 U.S. 197, 209, (1958); United States v. 789 Cases of Latex Surgeon
    Gloves, 13 F.3d 12, 15 (1st Cir.1993).
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    in the absence of any findings by the district court, this Court has no basis for

    determining why the district court did what it did in choosing to enjoin and/or

    sanction Appellant. See Navarro-Ayala v. Nunez, 968 F.2d 1421, 1427 n.5 (1st Cir.

    1992)(wherein this Court encourage the district courts to make specific findings

    “to help us better understand why a particular sanction has been deemed

    appropriate in respect to a particular instance of misconduct”); see also Specialized

    Plating, Inc. v. Federal Environmental Services, Inc., 121 F.3d 695 (Table); 1997

    WL 414102 (July 22, 1997).

          Because the district court’s Order is properly viewed as an injunction, the

    lack of findings or support for the injunction alone warrants that the injunction be

    vacated as an abuse of discretion. In re Rare Coin Galleries of America, Inc., 862

    F.2d 896, 902 (1st Cir. 1988) (“[s]peculation or unsubstantiated fears off what may

    happen in the future cannot provide the basis for a preliminary injunction.”); see

    also, Winkler v. Eli Lilly & Co., 101 F.3d 1196, 1204-06 (7th Cir. 1997); Glover v.

    Johnson, 855 F.2d 277, 284 (6th Cir. 1988) (finding abuse of discretion where court

    failed to make findings of fact).

    II.   CONCLUSION

          For the foregoing reasons, Appellant, Donald E. Haviland, Jr., respectfully

    requests that this Honorable Court vacate the district court’s June 22, 2010 Order

    barring Appellant from ever “serv(ing) as class counsel in any federal litigation
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    involving challenges to AWP” and barring his clients, the executors of the estate of

    Therese Shepley, and remand with appropriate directions.


    Dated: April 7, 2011                  _____/s/__________________
                                          Donald E. Haviland, Jr., Esquire
                                          Michael J. Lorusso, Esquire
                                          Haviland Hughes, LLC
                                          111 S. Independence Mall East, Suite 1000
                                          Philadelphia, PA 19106
                                          (215) 609-4661

                                          Attorneys for Appellant




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                          Certificate of ComplianceWith Rule 32(a)

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                        IN THE UNITED STATES COURT OF APPEALS
                                 FOR THE FIRST CIRCUIT



                                        NO. 10-1959

     IN RE: PHARMACEUTICAL INDUSTRY            MDL NO. 1456
     AVERAGE WHOLESALE PRICE                   C.A. No. 01-12257-PBS
     LITIGATION
                                               HONORABLE PATTI B. SARIS



                                 PROOF OF SERVICE

          I, Donald E. Haviland, Jr., declare under perjury that the following facts are

    true and correct:

          I am a citizen of the United States, over the age of 18 years, and not a party

    to or interested in the above-referenced case. I am a partner of Haviland Hughes,

    LLC, and my business address is 111 S. Independence Mall East, Suite 1000,

    Philadelphia, PA 19106.

          On April 7, 2011, I caused the REPLY BRIEF OF APPELLANT

    DONALD E. HAVILAND, JR., ESQUIRE to be filed with the Clerk via

    CM/ECF and all counsel of record were served via CM/ECF notification.


                                                 _/s/___________________________
                                                 Donald E. Haviland, Jr.
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                                                                                   Page 1

                IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS


    IN RE:                             )
                                       )   CA No. 01-12257-PBS
    PHARMACEUTICAL INDUSTRY AVERAGE    )
    WHOLESALE PRICE LITIGATION         )   Pages 1 - 91
                                       )




                    BMS FINAL APPROVAL HEARING

                BEFORE THE HONORABLE PATTI B. SARIS
                   UNITED STATES DISTRICT JUDGE




                                United States District Court
                                1 Courthouse Way, Courtroom 19
                                Boston, Massachusetts
                                March 28, 2011, 2:17 p.m.




                          LEE A. MARZILLI
                      OFFICIAL COURT REPORTER
                   United States District Court
                    1 Courthouse Way, Room 7200
                         Boston, MA 02210
                           (617)345-6787




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                                                                                   Page 2
 1    A P P E A R A N C E S:
 2
           SEAN R. MATT, ESQ., Hagens Berman Sobol Shapiro, LLP,
 3    1918 Eighth Avenue, Suite 3300, Seattle, Washington, 98101,
      for the Class Plaintiffs.
 4
           JENNIFER FOUNTAIN CONNOLLY, ESQ., Hagens Berman Sobol
 5    Shapiro, LLP, 1629 K Street NW, Suite 300, Washington, DC,
      20006, for the Class Plaintiffs.
 6
           MARC H. EDELSON, ESQ., Edelson & Associates,
 7    45 West Court Street, Doylestown, Pennsylvania, 18901,
      for the Class Plaintiffs.
 8
           JOHN A. MACORETTA, ESQ., Spector Roseman Kodroff & Willis,
 9    PC, 1818 Market Street, Philadelphia, Pennsylvania, 19103,
      for the Class Plaintiffs.
10
           KENNETH A. WEXLER, ESQ., Wexler Wallace, LLP,
11    55 West Monroe Street, Suite 3300, Chicago, Illinois, 60603,
      for the Class Plaintiffs.
12
           LYNDON M. TRETTER, ESQ., Hogan Lovells, LLP,
13    875 Third Avenue, New York, New York, 10022,
      for Bristol-Myers Squibb Company.
14
      ALSO PRESENT:
15
           DONALD E. HAVILAND, JR., ESQ., Haviland Hughes, LLC,
16    111 S. Independence Mall East, The Course, Suite 1000,
      Philadelphia, Pennsylvania, 19106, for Reverend David Aaronson.
17

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                                                                                   Page 3
 1                             P R O C E E D I N G S
 2               THE CLERK:     The Court calls Civil Action 01-12257,
 3    In Re:    Pharmaceutical Industry Average Wholesale Price
 4    Litigation.     Can counsel please identify themselves for the
 5    record.
 6               MR. MATT:     Your Honor, John Matt appearing for the
 7    class.
 8               MS. CONNOLLY:      Good afternoon, your Honor.           Jennifer
 9    Connolly for the class.
10               MR. MACORETTA:       Good afternoon, your Honor.           John
11    Macoretta for the class plaintiffs.
12               MR. WEXLER:      Ken Wexler for the class plaintiffs.
13               MR. EDELSON:      Marc Edelson for the class plaintiffs.
14               MR. TRETTER:      Lyndon Tretter, Hogan Lovells, for
15    Bristol-Myers Squibb.
16               MR. HAVILAND:      Good afternoon, your Honor.           Don
17    Haviland for Reverend Aaronson.
18               THE COURT:     Good, all right.       Thank you.      So this is a
19    motion at the final fairness hearing.            I understand that
20    Mr. Haviland is here on behalf of an objector.               Is there anyone
21    else here?     All right, so there's one objector, and as I
22    understand it, this is the only objector to any of the class
23    settlements.     Is that right?
24               MR. MATT:     That's correct, your Honor, from any of the
25    three classes, it's the only objector.



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                                                                                   Page 4
 1               THE COURT:     Okay, so proceed.
 2               MR. MATT:     Okay.    Your Honor, may I approach?            I have
 3    some slides to go through.
 4               THE COURT:     I'll give everyone a chance here, so --
 5               MR. MATT:     Your Honor, again, Sean Matt for the class.
 6    It's been a while since I've been here.             It's a pleasure to
 7    appear before you again.
 8               May it please the Court, the BMS final fairness
 9    hearing is why we're here today.           We are presenting the
10    settlement for final approval on behalf of three classes.                      The
11    three classes are very similar to the classes that you have
12    been familiar with the other settlements in the case:                   Class 1,
13    which is comprised of the Medicare beneficiaries which took the
14    seven BMS Medicare drugs, Class 2 --
15               THE COURT:     Can we just back up on that.           So the years
16    are 1991 to 2004?
17               MR. MATT:     That's the class that was certified for
18    settlement, correct.
19               THE COURT:     And who is the class rep currently?
20               MR. MATT:     The class rep is Mrs. Agnes Swayze.
21               THE COURT:     Swayze.     And Reverend Aaronson was the
22    class rep until when?
23               MR. MATT:     Until August 30 -- well, that's a little
24    unclear, but he was not a class rep any longer after your
25    August 31, 2007 order appointing Mrs. Swayze.



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                                                                                   Page 5
 1               THE COURT:     Because he withdrew, is that it?
 2               MR. MATT:     I think there's some confusion in the
 3    record.    He certainly threatened to.
 4               THE COURT:     All right, I remember the "threatened to,"
 5    but when I was pushing my memory, and I'll ask Mr. Haviland
 6    then, I don't know that he ever actually did withdraw.                   Did he?
 7               MR. MATT:     I don't think there's an actual order to
 8    that effect, your Honor.
 9               THE COURT:     Or motion to withdraw.
10               MR. MATT:     I do not believe, with respect to Reverend
11    Aaronson, there is not.         Unlike the J&J plaintiffs that were
12    associated with Mr. Haviland and there was an actual motion to
13    withdraw, I don't believe there's been a motion to withdraw
14    Reverend Aaronson.
15               THE COURT:     So I have both of them.
16               MR. MATT:     You do and you don't.         He's not the
17    representative of the settlement classes that you certified on
18    August 31, 2009.
19               THE COURT:     I see, so he's not part of the class that
20    I did the preliminary settlement order of approval on?
21               MR. MATT:     He's part of the class, but he's not a
22    representative, that's correct.
23               THE COURT:     Okay.
24               MR. MATT:     And then Class 2, as you may recall, are
25    compromised of the Medigap insurers; you know, same time



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 1    period, same payments made from January 1, 1991, and
 2    December 31, 2004.       And then Class 3 is a class of both TPPs
 3    and consumers who made reimbursements during that same time
 4    period for the BMS drugs at issue in the private, non-Medicare
 5    context.
 6                THE COURT:    Do you remember, in my order, the
 7    heartland of the drugs for BMS that I found liability for were
 8    which ones?
 9                MR. MATT:    You found liability for three drugs:
10    Taxol, Vepesid, and Cytoxan, and Rubex, four drugs.
11                THE COURT:    And Ms. Swayze took what?
12                MR. MATT:    She took Paraplatin.
13                THE COURT:    Yes.
14                MR. MATT:    And that's the only BMS drug that she took.
15                THE COURT:    Was that part of the initial trial?
16                MR. MATT:    Paraplatin was part of the Massachusetts
17    Classes 2 and 3 trial, yes, your Honor.
18                THE COURT:    And I found no liability, was that it?
19                MR. MATT:    You found no liability for Paraplatin,
20    correct.
21                THE COURT:    I had thought she took one of the other
22    drugs.     She said in her affidavit --
23                MR. MATT:    Her affidavit says carboplatin, your Honor,
24    which is the generic name for Paraplatin.
25                THE COURT:    I see.



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                                                                                   Page 7
 1               MR. MATT:     So that's why probably you picked up on the
 2    difference.
 3               So there are seven drugs.          The other drugs that I
 4    didn't just mention are Blenoxane and Etopophos, and those are
 5    also two drugs for which --
 6               THE COURT:     Yes, it was carboplatin, that was the one
 7    I --
 8               So can I just back up on that because I've not yet
 9    resolved her adequacy as a class rep.            So I'm just trying to
10    figure out, is Paraplatin one of the drugs that's receiving
11    some recovery in this suit?
12               MR. MATT:     It is.    Under the distribution formula
13    which we based on co-pays, the Paraplatin is treated as a
14    single co-pay damage drug.         So under the distribution model,
15    people who took Paraplatin would get single their co-pays.                       So
16    it's not trebled.       It's trebled for the drugs for which you
17    found damages, your Honor.
18               THE COURT:     Okay.    And with respect to
19    Reverend Aaronson, what drug did he take?
20               MR. MATT:     Reverend Aaronson's deceased wife,
21    Mrs. Aaronson, took both Taxol and Paraplatin.               She was
22    administered those drugs in 2004, which was after the time
23    period where the Court found liability.             You might recall --
24               THE COURT:     And is it after the class period in this
25    case?



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 1               MR. MATT:     It's in the class period, but it was after
 2    the time period where you found that AWP was an average.                      And
 3    so I know this takes us back a bit but --
 4               THE COURT:     That's 2003.
 5               MR. MATT:     Correct.     So you basically, I think, were
 6    intending to cut off damages in 2003, and we had a big issue
 7    just prior to the BMS trial as to whether Mrs. Aaronson was
 8    going to be adequate, and it was something that your Honor
 9    rose.
10               THE COURT:     Did I ever write on that?
11               MR. MATT:     You never had to make a decision on it.
12               THE COURT:     I never made a decision on that.              The
13    issue was --
14               MR. MATT:     No.     I know there was a motion, BMS filed a
15    motion on it, and plaintiffs responded.
16               THE COURT:     And I never decided that, right?
17               MR. TRETTER:        No.
18               THE COURT:     So as far as at least the law of the case
19    goes, Reverend Aaronson was not precluded from being a class
20    rep by anything I've written and neither was Ms. Swayze?
21               MR. MATT:     That's correct.       Actually, there was an
22    extensive discussion over Mrs. Aaronson's standing at a
23    pretrial conference in which you raised pretty serious
24    concerns, and then Ms. Swayze was brought in after that.
25               THE COURT:     Yes, because --



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                                                                                   Page 9
 1               MR. TRETTER:      I think you meant Mr. Aaronson or
 2    Reverend Aaronson.
 3               MR. MATT:     I'm sorry.
 4               THE COURT:     Yes.    And as I understand it from you, you
 5    did object to Mrs. Swayze, but we never resolved that.
 6               MR. TRETTER:      What happened, your Honor, is, we
 7    objected first to Reverend Aaronson on the grounds that his
 8    wife received all of her injections in 2004, which was after
 9    the Medicare Modernization Act.           So they brought forward a new
10    representative, Agnes Swayze.          And at that time when we were
11    going to trial, we said, "Look, we're not going to give anybody
12    a hard time.     We just want to make sure --" I mean, this was
13    very new, and we said, "Did she get one of our drugs in the
14    time period?"      And from what I can see from her affidavit, she
15    says she received Paraplatin in 2003 and that she avers that
16    she paid for it.
17               MR. MATT:     And the documents back that up too.
18               THE COURT:     But under the same argument, Mrs. Aaronson
19    would be in the same category.
20               MR. TRETTER:      Mrs. Aaronson would not have been in the
21    same category because she was in 2004 after --
22               THE COURT:     Right, fair enough, but it was within the
23    class period as you've defined it in this proposed settlement.
24               MR. TRETTER:      For settlement purposes, yes.
25               THE COURT:     I understand, but that's what I'm dealing



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                                                                                 Page 10
 1    with right now, so, okay.
 2               MR. MATT:     Just so the record is a little bit clearer,
 3    on her Paraplatin administration, your Honor found no liability
 4    for Paraplatin.      However, there were spreads over what you
 5    called the threshold 50 percent of sales being at list.                    It was
 6    a drug that I think was a close call, and it's possible that a
 7    jury could find otherwise.
 8               THE COURT:      I don't remember.
 9               MR. MATT:     Yes, I just was pulling out your decision
10    here, and discounting did result in spreads which reached as
11    high as 67 percent at one point, but you still found no
12    liability because largely the spreads were not consistently
13    above 30 percent.
14               THE COURT:      They were mostly below 30 percent.
15               MR. MATT:     Mostly, but there was some above, so I
16    think it's not quite clear that a jury would make the same
17    finding as you did, your Honor.
18               THE COURT:      I'm just trying to remember more than
19    argue.    And that was in my extensive findings of fact and law?
20               MR. MATT:     That's correct, post-trial.
21               THE COURT:      Post-trial.
22               MR. MATT:     Yes.
23               THE COURT:      With respect to which classes, 2 and 3?
24               MR. MATT:     2 and 3, Massachusetts only.
25               THE COURT:      Because at that point Class 1 had already



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 1    settled?
 2                MR. MATT:    No.    You just did a test trial on
 3    Massachusetts Classes 2 and 3.
 4                THE COURT:     No, but help me.      But the Medicare Class 1
 5    BMS settled before trial.         No?
 6                MR. MATT:    It settled after trial.         In fact, the MOU,
 7    the original MOU was signed I believe five days after you
 8    issued this opinion, which is reported at 491 F. Supp. 2nd,
 9    No. 20.     So that's the chronology of events, and that was on
10    the eve of --
11                THE COURT:     Excuse me.     What did I do with Class 1 on
12    BMS?
13                MR. MATT:    It was on the eve of trial.          We were going
14    to trial, I think probably three weeks later is my
15    recollection.
16                THE COURT:     Let me just -- this case has spanned at
17    this point eleven years, all right.            So my trial was on which
18    date?
19                MR. MATT:    Your trial was in November, 2006, which was
20    Massachusetts Classes 2 and 3.          Your decision comes out on
21    June 21, 2007, with respect to the Massachusetts Class 2 and 3
22    trial.     And then the MOU on behalf of Class 1 against BMS was
23    signed four days later on June 25, and your trial for BMS was
24    scheduled for I think the third week in July.              So that's how
25    the sequence unfolded.



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 1               THE COURT:      The trial for Class --
 2               MR. MATT:     Class 1.
 3               THE COURT:      For Class 1.
 4               MR. MATT:     BMS, correct.
 5               THE COURT:      Okay, thank you.
 6               MR. MATT:     You're welcome.
 7               So we do have the seven drugs at issue, your Honor.
 8    Let's discuss briefly the major settlement terms.                It's a
 9    $19 million nationwide settlement, including BMS's agreement to
10    pay up to one-half of $1 million in settlement notice costs.
11    There's no spillover of unclaimed consumer funds to TPPs.
12    There's no cy pres.        The full settlement is going to go to the
13    victims here.      And the allocation of the $19 million is split
14    23 percent to consumers, or $4,370,000, and 77 percent to the
15    TPPs, or $14,630,000.
16               After that agreement was struck on the $19 million,
17    those allocation numbers that I just alluded to --
18               THE COURT:      So there were no independent settling
19    health plans?
20               MR. MATT:     ISHPs aren't treated any separately here.
21    They're just part of the TPP pool, so we don't have that
22    situation here.
23               So once the $19 million settlement was reached, we
24    then had an allocation mediation held before Professor Green.
25    We utilized the same process that was used to allocate the GSK



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 1    moneys, the AstraZeneca Class 2/3 moneys, and the Track Two
 2    proposed settlement, which is still pending, your Honor.
 3    Consumers and TPPs were represented by separate counsel.                      They
 4    went at it, they negotiated it.           They both used Dr. Hartman's
 5    damages model as their points of departure, and using that
 6    damage model for the entire United States as a touchstone, and
 7    ignoring those states that your Honor didn't include in the
 8    class, and ignoring for the moment the statute of limitations
 9    damages, according to Dr. Hartman, were calculated roughly
10    15.4 percent for consumers and 84.6 percent for TPPs.                   Yet
11    consumers in the allocation ended up receiving 23 percent.                       So
12    they did better in the allocation proceedings than the
13    underlying damage percentages would have indicated.                 And that
14    was on Page 5 of my slides, your Honor.
15               Let's briefly talk about notice because I know your
16    Honor always asks about the notice report.              For Class 1, a
17    claim card was sent to 695,910 potential members as identified
18    in the CMS data.       That means that the CMS data comes back; it
19    appears that there's roughly 695,000 people who were
20    administered a drug that has a J-Code assigned to one of the
21    seven BMS drugs.       A very short form notice and a claim card is
22    sent to them by regular mail.          They were required only to sign
23    a simple statement under penalty of perjury indicating that
24    they made a percentage co-pay.          So the class members have to
25    self-select.      You might recall, we can't tell from the CMS data



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 1    who actually made a co-pay and who didn't.              Those people then
 2    return the cards, and then they receive a phone notice and a
 3    claim form where their transactions are mailed to them.                    And if
 4    they have any sort of a problem with the transactions, they can
 5    challenge it with the notice administrator.              And then at the
 6    end of this process, some time after approval, then they just
 7    get sent a check.       So it's a very simplified process.              They
 8    don't have to produce any evidence that they took the BMS
 9    version of the drug; they don't have to produce any evidence
10    that they in fact made a co-pay.
11               THE COURT:      Did you actually see evidence from
12    Mrs. Swayze that she took the carboplatin?
13               MR. MATT:     Yes, and that's actually in the court
14    record as well in her Explanation of Benefits form that was
15    attached to the initial filing.
16               THE COURT:      But there are thousands and thousands and
17    thousands, so maybe you could just get me what docket number it
18    is where she puts in that she actually took it in the time
19    period.
20               MR. MATT:     We'll get that document for you.
21               Class 2 and 3, let's talk about notice to them next?
22               THE COURT:      Yes.
23               MR. MATT:     About 41,900 notices were mailed to TPPs in
24    Rust's database.       Rust is the settlement administrator.               I'm on
25    Page 6 of the slides.        And it was also published in HR Magazine



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 1    and National Underwriter.         And the TPPs were required to
 2    complete a comprehensive claim form and submit some
 3    representative data, very similar to the process that has been
 4    employed with respect to TPPs in the other settlements.
 5               Then in Class 3, the consumers in Class 3, we didn't
 6    do any individual mailing.         We don't know who they are.             Notice
 7    was published in Newsweek, People, and TV Guide.               We utilized a
 8    press release.      There was a whole media campaign that you might
 9    recall Ms. Kinsella put together and you approved.
10               The Class 3 consumers were required to return the
11    claim form.     They had two options they could elect:              One was an
12    easy refund of $35.        Another was what we call the "full
13    estimation refund option," which they'd complete a simple claim
14    form, estimate their total out-of-pocket damages; percentage
15    co-pays, that is.
16               THE COURT:      How many people?
17               MR. MATT:     We only had 96 claims from Class 3 members.
18               THE COURT:      So that's a problem.
19               MR. MATT:     Well, I'll go over the whole claims
20    experience for all the classes in a bit, but one thing to
21    understand here is, the Class 3 consumer part of Class 3 is
22    extremely small.       These are largely chemotherapy drugs
23    administered to elderly people.           In fact, Dr. Hartman only
24    estimated that the Class 3 consumer portion of the damages were
25    only $240,000 nationwide.         So it's a very small group to begin



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 1    with.    So, you know, when I saw the 96, I kind of had a similar
 2    reaction, it seems kind of low, but it's also a very small pool
 3    to begin with.
 4               THE COURT:      Well, but a huge number sent back claims
 5    for Medicare, right?
 6               MR. MATT:     That's because they were identified in CMS.
 7               THE COURT:      Right, precisely.       And so I'm wondering
 8    whether it's that there were few people or whether it was an
 9    identification issue.
10               MR. MATT:     Well, it is because -- I mean, it could be
11    partially because they didn't get direct mail notice, but,
12    again, we think it's such a small group -- at preliminary
13    approval we had kind of debated this, and I think your Honor
14    was --
15               THE COURT:      And 16,500 returned notice cards, right,
16    that the Rust group --
17               MR. MATT:     Class 1 is 17,375.
18               THE COURT:      All right, so it even went up since my
19    last status reports.
20               MR. MATT:     It is a much higher amount than I think
21    anyone anticipated.
22               THE COURT:      So I'm just thinking out loud about the
23    Class 3, but, in any event, we'll move on.
24               MR. MATT:     Just to close up Class 3, you know, I think
25    we had this conversation at preliminary approval, and I think



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 1    the Court ultimately became comfortable that the class size was
 2    so small, it didn't justify spending money to try and do --
 3               THE COURT:      I remember that cost/benefit analysis.
 4               MR. MATT:     Right.
 5               THE COURT:      I do remember that.       And how much did we
 6    spend for these 96 claims?
 7               MR. MATT:     Uhm --
 8               THE COURT:      You don't know?      All right.
 9               MR. MATT:     I was afraid you'd ask that.          No.      You
10    know, it's a widespread publication notice.              I'm sure it was
11    more than $100,000.        It was a good-faith attempt, and, you
12    know, they issued 75 press releases; you know, they targeted
13    websites, bloggers, health-related bloggers; and, you know, it
14    was, I think, a pretty sophisticated media program, considering
15    we don't know exactly who they are, that Kinsella put together.
16               So that brings us to the distribution plan.                Now, I
17    think we touched on it briefly, but I want to go over it again
18    because it's important.         On Page 8 of our slides we set forth
19    this.    For the drugs Cytoxan, Taxol, and Vepesid, what we did
20    is, we took the total of the consumer co-pays and multiplied
21    them by three.      Now, these were the drugs that were responsible
22    for most of the damage.         There's no heartland limitation period
23    here in this methodology.
24               THE COURT:      Well, if I found -- a lot of this is just
25    not remembering, all right.          So if I found liability for four



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 1    drugs, why did we only treble for three?             What was the fourth
 2    drug there?
 3               MR. MATT:     Rubex is the one for which you found, and
 4    the reason we didn't treble I think was because it was a very
 5    small percentage.       It was a very small percentage of class
 6    damage, that's why.
 7               THE COURT:      I think the theory behind the trebling
 8    wasn't what percentage of class damages it was as whether or
 9    not there was a really strong claim.
10               MR. MATT:     Well, yes, and we thought that the claim
11    was stronger for those three.
12               THE COURT:      No, but I'm talking about in terms of
13    liability.     In other words, that there really -- I can't
14    remember the -- the duration and amount exceeded the speed
15    bump.
16               MR. MATT:     That was how it was originally formulated.
17    What it kind of morphed into with the AstraZeneca Class 1
18    settlement is the big concern about having any cy pres money
19    left over, and so --
20               THE COURT:      I know, there's no cy pres here.             I'm not
21    a cy pres lady for the most part.
22               MR. MATT:     Right, we understand that now, yeah.
23               THE COURT:      So I'm not a big cy pres lady.           But if you
24    added in Rubex as a trebling, is that a violation of any piece
25    of the agreement?



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 1                MR. MATT:     It's not, no.
 2                THE COURT:     And how many people would I be adding?                 Do
 3    you know?
 4                MR. MATT:     Not many.     Under this formula which, you
 5    know, is de-linked from damages, it's co-pays, there were
 6    $574,000 in total estimated recognized loss.
 7                THE COURT:     For Rubex?
 8                MR. MATT:     For Rubex.     I'm sorry, that's Vepesid.
 9                THE COURT:     Because that's big.       Anyway, you can get
10    back to me on that, but would it be a violation of any aspect
11    of -- in other words, my theory behind it was, the trebling
12    would be the ones who had the clearest damages, you know, the
13    clearest liability and damages, and the others were ones who I
14    found no liability for, or just simply BMS wanted to put the
15    issue to bed in some way, I think; there was some liability but
16    not so clearcut.        You don't care, do you, if I --
17                MR. TRETTER:     Well, one thing your Honor should be
18    aware about Rubex is, that was a drug that was hardly ever sold
19    at all by BMS.      It really is a drug that is Pharmacia's drug.
20    It's called Adriamycin.         So I have a feeling that when Rust
21    received a lot of these claims for Rubex, they really received
22    it for Adriamycin.
23                THE COURT:     I don't know, but if they said it was
24    Rubex, I'm going to live with that.            And so why don't you find
25    out how much it would be.         But you don't care, right?            You have



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 1    a maximum exposure.
 2                MR. TRETTER:      Right, as long as the exposure -- and
 3    we're not against re-jiggering, if that's what your Honor is
 4    talking about, you know, re-jiggering the distribution within
 5    that amount.      You're right, we don't have a dog in that fight.
 6                THE COURT:     Okay, okay.
 7                MR. MATT:     And to answer your question again, yes,
 8    this was predicated on your rulings trying to provide more
 9    money to people who --
10                THE COURT:     Who won.
11                MR. MATT:     -- took the drugs who you found liability
12    for.    So that's the whole why it's set up this way.
13                THE COURT:     Yes, all right, so put as a -- I don't
14    know who's taking notes here.           Hopefully we are.
15                MR. MATT:     We are.
16                THE COURT:     All right, just Rubex is a question mark.
17    The second question mark is -- and I'm just thinking about it,
18    and I do remember that cost/benefit analysis of whether it was
19    worth more notice.        Probably for the tiny amount, maybe that's
20    what we expected, but let's just think about that.
21                All right, so what's the next one?
22                MR. MATT:     Okay, so then the remaining drugs in the
23    distribution formula only receive -- they're single co-pays.
24    And they should receive something, they're given a release,
25    and, again, a jury could find differently than your Honor.                        So



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 1    the foregoing comes to a total recognized claim, and then
 2    that's reduced pro rata as necessary.
 3               Now, the distribution formula itself is generous.                     I
 4    mean, the payment is based on co-pays, which is not damage.
 5    They're greater than actual damages.            We assigned amounts to
 6    people even in years where the AWP did not exceed the
 7    30 percent threshold.        We ignored the statute of limitations.
 8    We didn't require them to prove the BMS version of the generic
 9    drug, and they weren't required to submit any other
10    documentation.      So, you know, we tried to make it as easy as
11    possible, again, coming on the heels of the AstraZeneca Class 1
12    settlement and some of the pioneering work that we did with
13    your Honor in terms of boosting the claims response, and it
14    worked.    I mean, we had a huge response.           Page 10 of the slides
15    set forth the statistics.         We have 17,375 claims from Class 1.
16    About 4,700 of those are deficient.            They didn't sign under the
17    penalty of perjury, for instance, is the most common
18    deficiency.     We asked Rust -- you know, it seems like a pretty
19    easy thing to do -- "What is your expected cure rate?" because
20    they returned it and say, "You need to cure this problem," and
21    they said the expected cure rate is only 25 percent.
22               THE COURT:      How much would it cost to actually try and
23    place a phone call to these people?
24               MR. MATT:     I don't know.      I'd have to ask Rust.            I
25    just don't know.



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 1                THE COURT:     I know 4,791 is a lot, but they're old
 2    people, right?
 3                MR. MATT:    They are.     They will receive a very simple
 4    letter just saying, "All you have to do is sign this and return
 5    it."     But the way Rust explained it to me, there's inertia, so
 6    a certain percentage are just not going to respond to direct
 7    mail.     Even though they sent something in once, they just don't
 8    expect they're going to respond, because I challenged them on
 9    it.     I said, it seems like a pretty low percentage.              They were
10    speculating that some people didn't take the BMS version of the
11    drug and weren't comfortable signing under penalty of perjury,
12    because we did ask them to do that, and that could be
13    represented in the large deficiency percentage.               You know, we
14    don't really know, but those are based on Rust's informed
15    experience, and they've been doing this for many years in a lot
16    of settlements.
17                The Class 2/3 TPP claims, about 695.           There's actually
18    more than that because a lot of times claims are submitted on
19    behalf of multiple TPPs.         It's pretty much subscribed as if --
20    it's pretty much subscribed in the same percentage expected in
21    the other settlements that we have, so there's no surprises
22    there.
23                And Class 3, again, 96 claims.          Most of them elected
24    the easy refund option; and, again, it's not surprising that
25    there are few class members there, given that their damages



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 1    calculated for that entire class for that entire period was
 2    only about $240,000.
 3               THE COURT:      $240,000 in --
 4               MR. MATT:     I can give you the precise number.              It's
 5    actually $243,760.
 6               THE COURT:      But for how many people?
 7               MR. MATT:     Well, we don't know how many people, but
 8    just going from aggregate -- remember Dr. Hartman did an
 9    damages model that looked at total spend, and looking at total
10    spend, the damages for Class 3 came to that amount, a very low
11    amount.
12               THE COURT:      I think I would need more of a record for
13    that as to --
14               MR. MATT:     Okay, we can put in a declaration from
15    Dr. Hartman.
16               THE COURT:      Because 96 does seem low.         I do remember.
17    I'm not saying that the notice wasn't fair.              We did say that
18    that was the best, it was a good-faith effort from class
19    counsel, given it was a smaller class, but 96, I'm just
20    wondering whether there's -- you know, we devised these other
21    attempts in other litigation to try and get at these people.
22    You know, I remember -- I see Mr. Sobol back there -- didn't we
23    go back through TPPs sometimes and we did things?
24               MR. MATT:     That's correct.       In Track Two, for
25    instance, which is pending and will be before your Honor on



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 1    June 13, if I remember correctly, the TPPs had a database of
 2    people prescribed these drugs in the Track Two universe, the
 3    ones that were self-administered, and if I remember correctly,
 4    we ended up sending 770,000 individual notices out in
 5    association with --
 6               THE COURT:      And what did we get back?
 7               MR. MATT:     -- Class 3 consumers.
 8               THE COURT:      And did we get a good return on that?
 9               MR. MATT:     I unfortunately don't know.          I'm not a
10    Track Two guy.
11               THE COURT:      All right, well, we'll put that on a hold,
12    okay?    We'll figure that out.
13               MR. MATT:     Okay, so we asked Rust to take all of these
14    claims that came in for Class 1 -- and I'm turning to Page 11
15    in the slides -- and we said, let's see if we can estimate the
16    total actual damages associated with these claims because we
17    know that the total recognized loss is going to be, you know,
18    many, many times higher than their actual damages.                So we had
19    them actually take Ray Hartman's estimated damages for each
20    drug and apply it to the co-pays that they have in the data
21    from CMS; and when they did that, assuming a 25 percent cure
22    rate for claims, the total damages associated with that class
23    comes to about $3.9 million.          And even that overstates damages
24    because it just takes a blend.          So, for instance, for Taxol,
25    the damage factor itself is 34 percent.



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 1               THE COURT:      So we don't know how that would be
 2    affected if we included the trebling for Rubex?
 3               MR. MATT:     I'm sorry, can you ask that again?              I want
 4    to make sure I'm tracking with you.            That doesn't really tell
 5    us anything about Rubex.           This is just an aggregate number.
 6               THE COURT:      Right.
 7               MR. MATT:     Now, we can get that number, okay?
 8               THE COURT:      Okay.
 9               MR. MATT:     We can get it drilled down to Rubex, but we
10    don't have it in Eric Miller's declaration from Rust.                   But
11    they've got that data at their fingerprints, and when we get
12    back to you, we can provide that information.              And the
13    $3.9 million damages associated with Class 1 is comfortably
14    lower than the $4.3 million that Class 1 was allocated.
15               Now, because of the nature of the distribution
16    formula, the percentage of damages received does vary from
17    52.5 percent to 102 percent, based on a small sample that we
18    had Rust run, and the amount received --
19               THE COURT:      Is that recent because now you know exact
20    numbers?     Now you have exact numbers with the exception of the
21    25 percent cure rate.
22               MR. MATT:     Correct.
23               THE COURT:      So is that exact or as close as we're
24    going to get right now?
25               MR. MATT:     That is -- we actually pulled thirteen real



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 1    claims, real live claims just randomly, and then we did
 2    Mrs. Aaronson as well, and that's how we got those numbers.                       So
 3    those are real numbers.         We've got the data.
 4               THE COURT:      And that's assuming what percentage for
 5    attorneys' fees?
 6               MR. MATT:     Assumes what you have been awarding, which
 7    I know to be 30 percent.         That assumes a 30 percent attorneys'
 8    fee and takes out some administration costs assigned to Class 1
 9    as well.
10               Now, the amount any individual class member receives,
11    of course, depends on the drug administered because of the
12    distribution formula.
13               So let's look at the reaction of the class.                Your
14    Honor, we have four consumer opt-outs from Class 1.                 We have no
15    consumer opt-outs from Class 3.           We have twelve TPP opt-outs.
16    We have no TPP objections, we have no Class 3 consumer
17    objections, and we have a single Class 1 consumer objection,
18    and that's Don Haviland's client, Mr. Aaronson.               Now --
19               THE COURT:      Is there an argument that since they're
20    only getting 23 percent of the moneys, that they should only
21    pay 23 percent of the expenses?
22               MR. MATT:     In the allocation, they agreed to split
23    expenses 50/50, I think.
24               THE COURT:      So why is that fair?       In other words, I'm
25    thinking through all these issues.



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 1               MR. MATT:     Right, that's an interesting -- you know,
 2    that was not negotiated by us.          That was the allocation
 3    proceeding in which, you know, we actually don't play a role.
 4    Consumers and TPPs had separate representation.               We just, you
 5    know, provided information in response to their requests.
 6               THE COURT:      I mean, just put that on the punch list.
 7               MR. MATT:     Okay, that's the next item on the punch
 8    list then.     Oh, that's right, yeah, co-counsel just reminded
 9    me.   Allocation counsel believe that was a good deal for
10    consumers because the notice costs were much higher because,
11    you know, a mailing went out to 695,000 people, okay, and they
12    had to manipulate the CMS data.           So the notice was more
13    expensive for them than it was for the TPPs, which were already
14    in a database.      There was 40,000 of them in a database that
15    Rust already had.       So that does comport with my recollection of
16    what allocation counsel told me at the time.              They thought they
17    were getting a good deal --
18               THE COURT:      That would be a way of thinking about it
19    because they got percentagewise a smaller amount of the
20    dollars.
21               MR. MATT:     They did.     They got 23 percent, although
22    their damages were 15 percent, so, you know, allocation counsel
23    also felt that they got really good deal in that respect too
24    for the consumers.
25               THE COURT:      And so when BMS agreed to spend up to a



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 1    million dollars in notices in addition, that was in context
 2    with the first MOU, right?
 3                MR. MATT:     Second as well.
 4                THE COURT:     I know, but I'm thinking --
 5                MR. MATT:     Oh, yes, yes, I follow your track.               Yes,
 6    the answer is "yes."
 7                THE COURT:     And so how much money did it cost for
 8    Class 1?     Do we know ballpark?
 9                MR. MATT:     We just got a notice bill of about
10    $700,000.
11                THE COURT:     That's one way of thinking about it.                  So,
12    all right.      I'm trying to get to a point where I can at least
13    understand a little bit better.           So when it says 52 percent to
14    102 percent percentage of damages, does that include the
15    trebling?
16                MR. MATT:     No, it does not.       That is just a look at
17    their actual damage, so that takes --
18                THE COURT:     So suppose I were to take the four
19    heartland groups, including Rubex, and how many of them are
20    going to be able to -- they're the ones where there was just
21    really strong liability, really strong.              So how many of them
22    are going to be able to get treble based on current numbers?
23                MR. MATT:     Based on the current projection, no one is
24    going to get treble.
25                THE COURT:     No one is going to --



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 1               MR. MATT:     No one's going to get treble.           Again, this
 2    is the disconnect between their true damage and the co-pay
 3    distribution model.        Again, when we recommended this
 4    distribution model, everyone was concerned about cy pres
 5    because of the experience in AstraZeneca Class 1.                So, you
 6    know, we basically made it as generous as we could so we could
 7    minimize or hopefully not have any cy pres left over.
 8               So that's how the distribution methodology works, but
 9    we're looking now at their actual damages, okay, and comparing
10    their actual damages to what they're ultimately going to get,
11    and we're finding that some people are getting less and some
12    people are getting more.         It depends on what drug you took.
13    Largely, if you took Taxol, particularly in combination with
14    something else, then, you know, these people are getting
15    100 percent of their actual damages, using Ray Hartman's
16    damages figure, including Mr. Aaronson.             So that's what we're
17    looking at now.      We're drilling into the actual, you know,
18    damage numbers used by Ray Hartman.
19               THE COURT:      Does anyone get treble?
20               MR. MATT:     No.
21               THE COURT:      No one gets treble.       So unlike some of the
22    other classes where some people get treble, no one because of
23    this distribution is getting treble?
24               MR. MATT:     That's correct.
25               Now, let's talk about the overall fairness of the



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 1    settlement, and this brings us to Page 13 of our slides.
 2               THE COURT:      Well, let me --
 3               MR. MATT:     I know, we're throwing a lot of numbers at
 4    you, but --
 5               THE COURT:      No, no, I actually read it before I walked
 6    in here.     I've read everything at this point.           So it doesn't
 7    ever say in the papers that no one gets treble, so I didn't
 8    actually understand that, no one does.             So when you say 52 to
 9    100 percent, it's assuming everyone is just getting actual?
10               MR. MATT:     Correct.     Well, it's 102 percent.           And this
11    is based on a small sample.          There could be people outside of
12    the 102 percent.
13               MR. TRETTER:      Can I be heard briefly, your Honor?
14               THE COURT:      Yes.
15               MR. TRETTER:      I mean, when you say 50 to 102 percent,
16    I think that there is one point that you're missing.                  Some
17    people had no damages.        Let's say Paraplatin in many years, I
18    think in all years, or Taxol throughout the 1990s, under your
19    ruling there was zero because it never exceeded the 30 percent
20    threshold.     However, in this settlement there are substantial
21    funds going to, for example, Reverend Aaronson's former wife
22    because of Taxol and Paraplatin.
23               THE COURT:      I'm at this point not worried about any
24    individual, okay?       I'm worried only about the fact that there
25    was a period of time where in my view -- and I was upheld --



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 1    BMS under any theory of the case was liable.              It was a very
 2    strong heartland period with the 30 percent whatever, and I
 3    want to make sure that those people who had the strongest
 4    claims, just as we've done in other settlements, got a
 5    stronger -- even if Aaronson is excluded, even if Swayze is
 6    excluded, that the heartland people get the biggest recovery.
 7                MR. TRETTER:     I would suggest that you would have to
 8    take money from the Paraplatin and Taxol buckets, where there
 9    were no damages, and move them into the Cytoxan, Vepesid, Rubex
10    buckets.     If you wanted to treble those, you'd have to do it
11    that way.
12                THE COURT:     Well, what if I were to treble -- I
13    don't -- I'm not here at this point worried about, as I said,
14    any individual.      If you were to take all the people who had the
15    heartland claims we've been calling them in other -- didn't we
16    do this with other classes? -- the heartland period of time and
17    the heartland claims and trebled them, would we have enough
18    money for that?
19                MR. MATT:    Here I think you could do -- I don't know
20    the answer to the question.          You would have to certainly do a
21    rebalancing.
22                THE COURT:     At least doubled them.
23                MR. MATT:    I don't know the answer to that question
24    either.     We haven't done the analysis.          We can.    But the
25    rebalancing that Lyndon has just discussed I think is what



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 1    would have to occur.
 2               THE COURT:      Which classes did we do that for?
 3               MR. MATT:     What we're speaking of, your Honor,
 4    AstraZeneca Class 1 specifically.           What we did there in
 5    response to your Honor's suggestion was to treble the claims
 6    for those people who had their Zoladex administrations inside
 7    the heartland period, so there was only one drug at issue there
 8    in the AstraZeneca class.
 9               THE COURT:      Right, and here we've got three or four,
10    depending on --
11               MR. MATT:     So you looked at a time period, and you
12    said, "Okay, this is the time period where liability is
13    strongest.     We're going to treble that."          So that's where it
14    started.     Here we're not looking at time periods at all.
15               THE COURT:      I am.
16               MR. MATT:     We're looking at drugs.
17               MR. MATT:     Well, you're looking at drugs, right?
18               THE COURT:      No.     I'm looking at both.      I'm looking at
19    both.    I'm trying to be consistent across the classes.                 Listen,
20    I understand you have been working very hard, and for reasons
21    that are not totally clear to me, this is at the end of the
22    list rather than at the beginning of a list.              Now, there was a
23    two-year hiatus there that I've not totally understood, but, in
24    any event, this is at the end of the list, not the beginning.
25    So I have the history of the other litigations that maybe the



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 1    allocation counsel didn't have.           But I also think there's some
 2    fairness -- you know, I gave Glaxo certain attention because it
 3    was the first one and we didn't have the experience, and, you
 4    know, you were first out of the box.            So I'm trying to
 5    understand it a little better and working with what we've come
 6    to learn.     And so AstraZeneca we gave the one drug for the
 7    heartland period, we trebled, and everybody else got singles?
 8    Is that what we did?
 9                MS. CONNOLLY:     No.    You trebled for both --
10                THE COURT:     What?
11                MR. MATT:    We ultimately ended trebling because even
12    after you did that, there was so much money left over for
13    cy pres that you wanted to see more money go back to the
14    consumers.
15                THE COURT:     So we trebled everyone.
16                MR. MATT:    So we ended up trebling everyone
17    ultimately.
18                So let's return to the overall fairness of the
19    settlement.     I think it's something that we need to keep in the
20    perspective.      You know, nationwide damages, removing statute of
21    limitations, extending the class period all the way back to
22    1991, even though the Court said no liability prior to 19 --
23    kind of best-case plaintiffs' damages in this case against BMS
24    is $30 million calculated by Dr. Hartman.             The $19 million
25    resulted in a recovery of 62 percent of the $30 million.                     I'm



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 1    on Page 13 of the slides.         That is in comparison to AstraZeneca
 2    which was 42 percent.        The reason we make that comparison, your
 3    Honor, is, we do not believe that this case against BMS is as
 4    strong as the case against AstraZeneca; yet we were able to
 5    recover 62 percent of the class's damages, so we feel it's a
 6    very, very strong settlement.
 7               Now, why do we think the risks are higher here?                   You
 8    know, BMS you found, your Honor, did not report AWPs; they
 9    reported list prices, which a significant percentage of people
10    actually paid from time to time.           Many wholesalers actually
11    bought at that price, especially when the drug had no
12    competition.      You found that "BMS did not completely control
13    the AWP percentage markup of its drugs," and that's a quote.
14    You found no liability for drugs and periods where substantial
15    sales were greater than 50 percent at wholesale list price.
16    You found little spread marketing evidence.
17               THE COURT:      But this was all negotiated after the
18    trial.
19               MR. MATT:     Correct, so we had the benefit of the trial
20    experience.
21               THE COURT:      Right, so there wasn't much risk anymore.
22               MR. MATT:     Pardon me?
23               THE COURT:      There wasn't much risk anymore once you
24    negotiated this.       I'd already ruled.
25               MR. MATT:     You had, but I think there was still a lot



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 1    of risk.     I mean --
 2               THE COURT:      Because of the appeals?
 3               MR. MATT:     Yeah, well, the appeals is certainly a big
 4    risk, and we still have to go do the case before a jury.                     A
 5    jury could find differently.
 6               THE COURT:      Only the jury on part of it.
 7               MR. MATT:     Most of the UDTPA statutes, your Honor,
 8    that were in the class that was certified for litigation, you
 9    know, have jury trials associated with them.
10               THE COURT:      All right, thank you.
11               MR. MATT:     The Massachusetts statute is actually in
12    the minority.
13               And it is on appeal.        The appeal to the First Circuit
14    has been stayed pending your Honor's determination on the
15    overall fairness of this settlement.            So, you know, there was
16    significant risk, not only going to trial but also on appeal.
17    And other risks included, you know, the difficulty in
18    identifying the BMS version of the generic drugs reimbursed
19    under common J-Codes, which I think is fueling the large claims
20    experience here.       I think we have a lot of people who, you
21    know, took a drug under the J-Code, they were mailed a notice,
22    and they may not necessarily have taken the BMS drug.                   It's
23    just the best we can do.
24               So I do think it's a very, very strong settlement,
25    particularly in comparison to AstraZeneca, which we thought was



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 1    a stronger case.
 2               So that brings me now, your Honor, to Don Haviland's
 3    objection.
 4               THE COURT:      Well, before we get to that, maybe I
 5    should let him speak as to what his current objection is
 6    because it may have changed based on some of this data.
 7               MR. MATT:     Okay, and then if we can reserve some time
 8    to reply to that.
 9               THE COURT:      Before we do that, so what latitude do I
10    have?    They don't care as long as it's $19 million, right?
11               MR. TRETTER:      That's right, your Honor.
12               THE COURT:      And I understand there were allocation
13    counsel between TPPs and consumers.            Are they in the room?
14               MR. MATT:     Two of them are, your Honor, Wells
15    Wilkinson who represented consumers and then Mr. Cohen who was
16    TPP counsel.
17               THE COURT:      Okay.   So one of the concerns might be --
18    and I don't know if I can number crunch this today -- if I
19    wanted to make it consistent with AstraZeneca in the sense of
20    providing double or treble, multiple damages to people who had
21    the strongest claims, but some damages to the people in the
22    full period of time, even if that meant that some of the people
23    with the weaker claims got a little less, are those numbers --
24    let's suppose we were to come up with them, am I bound by, in
25    your view, the allocation, or can I play with the allocation?



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 1    In other words, to give every person in the heartland period,
 2    let's say, double and everybody else single, how much into the
 3    other piece of the TPP pie do I go?
 4               MR. MATT:     I think, your Honor, it's a two-step
 5    process.     I don't know if you even have to get there because
 6    what we would do -- and it sounds like you want us to do this
 7    so we'll do this --
 8               THE COURT:      Yes.
 9               MR. MATT:     -- is take a snapshot of what a rebalancing
10    looks like within Class 1, giving people their damages, their
11    damages only for periods in which you found liability, and
12    then double --
13               THE COURT:      Well, it might be the consumers in Class 3
14    too.
15               MR. MATT:     Yes, they're included in the pool, so it's
16    consumers total -- and take a look at the math and see what it
17    looks like at this point, report back to your Honor and say,
18    "We did this rebalancing.         We looked at their damages.            We did
19    double for the heartland drugs, the three drugs, and there's
20    enough money --"
21               THE COURT:      Four, four.
22               MR. MATT:     Four because you want Rubex added in, and
23    we can come back and say, "Okay, there is enough money to do
24    this and accomplish what you're suggesting to be accomplished
25    with the money that's already allocated to Class 1," or, "No,



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 1    your Honor, we can't.        There's not enough money there, and
 2    we're short X amount."
 3                THE COURT:     And then can I --
 4                MR. MATT:    And then you make a decision from there.
 5    In terms of whether you can do it, I mean, your Honor, whether
 6    a settlement is fair and reasonable is within your discretion.
 7                THE COURT:     So as far as you're concerned, the
 8    allocation counsel, the only person I actually have to be
 9    worried about is BMS in terms of the deal.              Between allocation
10    counsel for TPPs and consumers, you represent the whole
11    umbrella.
12                MR. MATT:    Correct.
13                THE COURT:     You can essentially represent -- I guess
14    I'm just not bound by what allocation counsel did other than
15    that was one fair way of proceeding before Mr. Green.
16                MR. MATT:    That's correct, your Honor, but if you
17    change the allocation, I mean, we have to look into whether
18    notice has to be redone.         If you rebalance it within Class 1, I
19    don't think you have to re-notice all of Class 1.                I think you
20    can just --
21                THE COURT:     Of course I don't, no.
22                MR. MATT:    You just have to re-notice, I think,
23    probably the people who submitted the claim cards, so 17,000 --
24                THE COURT:     I'm not sure I have to re-notice at all
25    because that's what the fairness hearing is about.



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 1               MR. MATT:     I don't know the answer to that.             I'm
 2    basically suggesting we need to look into that.
 3               THE COURT:      I don't think we re-noticed everyone, did
 4    we, in AstraZeneca?        Did we?
 5               MR. MATT:     Well, you were giving them more.
 6               THE COURT:      Oh, I was giving them more.         I see, I see.
 7               MR. MATT:     So if you rebalance, you're probably going
 8    to be taking away from Paraplatin people and --
 9               THE COURT:      Well, I don't know.       That's why I wanted
10    to make sure there was enough.
11               MR. MATT:     Now, if you change the TPP allocation, I
12    think you've got to re-notice the TPPs probably.               You know, we
13    can look into that.
14               THE COURT:      How much did that cost?
15               MR. MATT:     That's not that expensive, your Honor.                  You
16    know, there was direct mail notice to 41,000 of them, and, you
17    know, I think that we have to take a look at that.                I just
18    can't automatically say.
19               THE COURT:      Okay, all right, all right, I understand.
20    I need to put this all into my cauldron and figure this out.
21               MR. MATT:     I don't want to commit to that either way,
22    but it's an issue that I wanted to red flag that we have to
23    look into.
24               THE COURT:      Yes.
25               MR. MATT:     Okay.



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 1                THE COURT:     Okay, fine.     All right, the objections,
 2    Mr. Haviland, go ahead.         Do you want to come on up?
 3                MR. HAVILAND:     I will.
 4                THE COURT:     In the notice, we don't mention doubling
 5    or trebling, do we?
 6                MR. MATT:    We do.    In the distribution formula we tell
 7    people in Class 1 that they're going to have their co-pays
 8    trebled, and that's going to form the total recognized lost
 9    base factor for the three heartland drugs, and then it's single
10    co-pays for the other drugs.          That was in the notice.
11                THE COURT:     Oh, so then why would I have to re-notice
12    it?
13                MR. MATT:    I don't know.      We need to look at it.
14                THE COURT:     Think about it, think about it.            All
15    right.
16                MR. HAVILAND:     Good afternoon, your Honor.           Don
17    Haviland.     My son gave me a cold, I'm sure in the last 48
18    hours, so my voice isn't as strong as I'd like it to be.
19                I just looked at the chart with Mr. Sobol to see
20    whether there was enough money.           I don't see it.      I just don't
21    see it.     I'm looking at an exhibit from the Declaration of Eric
22    Miller, March 14, Docket 7459, and it's a tab on Page 26 of 44
23    which lays out essentially how they're spending the money, if
24    you were to award fees and costs, $2.8 million.               Just to try to
25    double the Taxol, which, your Honor, I'm here for



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 1    Reverend Aaronson.       Let's just be very clear.
 2               THE COURT:      Yes, actually, could you start off with
 3    that?
 4               MR. HAVILAND:      Sure.
 5               THE COURT:      I can't remember.       This case has been
 6    going on for a very long time.
 7               MR. HAVILAND:      I thought that would be helpful.                Let
 8    me back up.
 9               THE COURT:      Did he, in your view -- I remember being
10    annoyed because you said, "Then I'll take away my class rep."
11    So did that actually happen?
12               MR. HAVILAND:      No, your Honor, and let me just try to
13    clear the air for the first time in many, many years.                   You
14    know, when I was asked to come in with my old firm and try to
15    help this case out, we had represented thousands of people in
16    the Lupron case before Judge Stearns, cancer patients.
17    Reverend Aaronson is a prostate patient, recovered in the
18    Lupron settlement.       His wife unfortunately had breast cancer
19    and passed away.       So when we were asked to try to identify some
20    class representatives in August of '05, when your Honor wrote
21    your opinion saying, "I'm inclined to certify a class, but you
22    don't have a rep," Mr. Sobol and I had a lunch down in
23    Philadelphia, and he said, "Do you think you could help us
24    out?"    I said, "Sure.      We'll talk to our clients."
25               And we then, I think we filed the third amended class



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 1    action complaint back then, and we intervened all these people:
 2    Reverend Aaronson, Mrs. Aaronson, Mrs. Howe, her late husband,
 3    Mr. Howe, who was our AstraZeneca class representative.
 4               THE COURT:      You know, let's just stick right now with
 5    BMS.
 6               MR. HAVILAND:      Sure.    So the Aaronsons were appointed
 7    by your Honor in January of '06, okay.             Your opinion, which I
 8    have a copy of but it's a reported decision, actually makes
 9    that appointment.       And that's significant because you asked the
10    question, "Where are they now?"           233 F.R.D. 229 is your
11    decision, and in the very first page, Paragraph 3, you say you
12    certify the following plaintiffs as representatives:                  David and
13    Sue Ruth Aaronson as GlaxoSmithKline and BMS Class 1 reps.
14    They're my clients.
15               Mrs. Aaronson was getting very sick at the time of her
16    deposition.     Her husband took the deposition not once but
17    twice, so he went through the gauntlet in this case.                  I think
18    there were ten defense lawyers that examined him the second
19    time around.      He's 84 years old, your Honor.          He's very sick
20    himself, and I just want you to know, when we sent notices out
21    last week --
22               THE COURT:      Let's just move --
23               MR. HAVILAND:      So Reverend Aaronson just wants to try
24    to make this work, okay?         So that's what I'm here to do.
25               THE COURT:      What happened when -- at some point I was



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 1    under the impression that he was unhappy, he was withdrawing.
 2    I disqualified you.        I can't even remember the whole thing.
 3    Did he ever actually withdraw?
 4               MR. HAVILAND:      He didn't, no.       What happened was, I
 5    think -- it's hard for me to understand what happened other
 6    than there was a huge breakdown between counsel in the room and
 7    myself in trying to communicate what my clients were saying
 8    about what they thought about the litigation and then what the
 9    other lawyers were doing with their TPP clients.               I think that
10    that's essentially what's happening.            You didn't have any
11    Class 1 representatives over here; you had all my clients.                       And
12    I have this bad habit of calling them and talking to them a lot
13    about their case, so --
14               THE COURT:      I'm just trying to -- so we had this
15    hearing, and you were angry and they were angry.               And then I
16    approved a class where Mr. Aaronson was not a class rep and
17    didn't hear from anybody.           So you're saying that he wants to
18    still be a class rep?
19               MR. HAVILAND:      No.     Let me see if I can be clear about
20    that.    The first one you approved was GlaxoSmithKline.
21               THE COURT:      I understand.
22               MR. HAVILAND:      $70 million, and he's the rep there.
23               THE COURT:      Right.     I'm talking about BMS.        Tell me
24    about BMS.
25               MR. HAVILAND:      All right, in BMS, I think what



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 1    happened -- you've got to go back to the summer of '07.                    It's
 2    about that time AstraZeneca settled.            It's about that time
 3    Mrs. Howe, my client, didn't like that the agreement, the MOU,
 4    had set aside about $10 million of cy pres for PAL,
 5    Mr. Wilkinson's organization.          We objected to that.         Your Honor
 6    said, "File an affidavit under seal, Mr. Haviland, explain the
 7    objection."     We did.
 8               MR. MATT:      It wasn't set aside for PAL, your Honor.
 9    It's just not true.
10               MR. HAVILAND:      You can look at the record, your Honor.
11    My affidavit has it.
12               THE COURT:      I have no memory.
13               MR. HAVILAND:      The bottom line is, that was the
14    objection we raised.        I think your Honor agreed; you're not a
15    cy pres judge.      So more money needed to go back to the
16    consumers, and that happened.          But at the same time BMS was
17    going to trial.      I think the Astra trial was the spring of '07,
18    and we had a July 23 date in BMS.           There was an effort to
19    attack the Aaronsons' standing, and their adequacy was defended
20    by both myself and class counsel.           We filed pleadings.
21               So when we all appeared before you July 3, 2007, which
22    to me is the important date -- that's the date we all stood
23    before you two weeks from trial -- I didn't know the case had
24    settled at that point.        We were still working through the
25    AstraZeneca settlement, and it was announced to you that the



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 1    case had settled.       I'll never forget Mr. Tretter turning around
 2    and saying, "Well, what does Mr. Haviland think?" and I said,
 3    "Well, it's the first I'm hearing about this, and I'll have to
 4    talk to Reverend Aaronson."          And you said, your Honor, "Well,
 5    as long as Mr. Haviland is co-lead counsel, keep him in the
 6    loop."
 7               So I went back and I talked to Reverend Aaronson, and
 8    we discussed this settlement, $13 million.              This is the one
 9    that I'm here on today; a signed MOU signed by Mr. Matt and
10    Zenola Harper, the general counsel, with Mediator Green, agreed
11    to $13 million for consumers, which to headline where I'm going
12    today, if you enforce that settlement, I go home.
13               THE COURT:      Excuse me.     My only issue here today --
14               MR. HAVILAND:      Yes.
15               THE COURT:      -- is the current settlement fair and
16    reasonable?     That's part of the context.
17               MR. HAVILAND:      Yes.
18               THE COURT:      All I have in front of me today is whether
19    the $19 million settlement is fair and reasonable.                I
20    understand you think it isn't.          And I'm not here to enforce a
21    contract because contracts can be modified, and so I'm only
22    here as a class action judge, not a contract -- I'm not in
23    contract litigation.        But let's just -- let's just -- I just
24    want to understand this.         You don't view Aaronson as currently
25    a class rep?



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 1               MR. HAVILAND:      No, I think he is, your Honor.             I
 2    believe that your order --
 3               THE COURT:      Well, then get me there, okay.
 4               MR. HAVILAND:      In January of '06 you appointed all my
 5    clients as the Class 1 class reps.            You've never rescinded that
 6    order.    Reverend Aaronson never withdrew.           What happened was,
 7    when we were having that rift you identified, I was asked by my
 8    clients to step up and make sure their interests were
 9    protected.     I then asked to modify CMO-1, your very first
10    order, to make clear that the interests of consumers would be
11    protected.     I kept getting outvoted, and I think you saw that
12    in the record back then that I was getting outvoted on issues.
13    So that rift never got resolved.           The affidavits I filed with
14    Reverend Aaronson, Mrs. Howe that your Honor was so upset about
15    and, you said that they were toys, being treated as toys, were
16    the honest affidavits of those folks.            Mrs. Howe actually
17    underscored the part --
18               THE COURT:      Well, what did they say?        They said --
19               MR. HAVILAND:      They said, "We just want to know that
20    Mr. Haviland is going to be there with his firm to protect our
21    interests."
22               THE COURT:      And if not?
23               MR. HAVILAND:      "And if not, then we're going to go."
24               THE COURT:      Right, that's what I remember.
25               MR. HAVILAND:      Right.



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 1                THE COURT:     That's what I remember.        Now, it may be
 2    that we didn't cross the T and dot the I.             I deemed that a
 3    withdrawal.     Now, maybe I should have issued an order deeming
 4    them no longer class reps, but, you know, no one asked me to
 5    and I didn't do it.        But I remember at the time distinctly
 6    believing, because I remember there was then a problem with the
 7    class, and I said, "Can you find someone else?"               Wasn't that
 8    how this all evolved?        I remember thinking that that might
 9    undercut the whole class action, and I think I deemed it, and I
10    think no one disabused me of it, as a withdrawal that might
11    undermine the viability of the class.
12                MR. HAVILAND:     Well, I don't think anybody got that
13    from you, Judge.       I certainly didn't.       What happened was --
14                THE COURT:     Well, they must have because they went out
15    and got someone else.
16                MR. HAVILAND:     Well, I continued as class counsel up
17    until the point you disqualified me three months after I
18    appeared in front of you in January of 2008, I believe it was.
19                THE COURT:     That's probably because it took me so long
20    to write the opinion, but three months, two or three months or
21    whatever.
22                MR. HAVILAND:     Well, it was a quick opinion.             And in
23    the interim I was continuing to represent the consumers.                     I
24    took the appeal of Johnson & Johnson on behalf of Shepley, and
25    your Honor pointed out, "Boy, I wish someone had pointed out to



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 1    me that I had dismissed the whole class."             Well, we took that
 2    appeal.     And then you disqualified my firm, myself, and they
 3    substituted in.      My clients are not happy at all with how that
 4    case is going, and they withdrew.           And your Honor now has a
 5    sanction order against me that we've had to appeal because, you
 6    know --
 7                THE COURT:     Well, where is that?
 8                MR. HAVILAND:     It's in the First Circuit now because
 9    you have a sanction against me ever being class counsel, and I
10    just can't have that --
11                THE COURT:     Never being class counsel -- no, here,
12    here.
13                MR. HAVILAND:     No, no, anywhere, your Honor, you said
14    anywhere.
15                MR. MATT:    In AWP-related litigation.
16                THE COURT:     In AWP.
17                MR. HAVILAND:     In a Federal Court.
18                THE COURT:     In AWP.
19                MR. HAVILAND:     In a Federal Court, you said I cannot
20    be class counsel --
21                THE COURT:     Yes, but not ever in any case from the
22    beginning of time.       At least I didn't plan to do that.              I
23    mean --
24                MR. HAVILAND:     But why that's important, your Honor,
25    is, I am class counsel in a New Jersey case.              I've been in that



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 1    case in 2003, and the defendants keep threatening to remove it.
 2    The moment I come to Federal Court I'm out, and defense counsel
 3    would love to see that because they disqualify me on your
 4    order.    And I've never had a vetting on that.            As a matter of
 5    fact, your Honor, you know what I've been doing the last year?
 6    Trying cases.      I tried a case against BMS.          I got $27.6 million
 7    against them in a case in Pennsylvania, so --
 8               THE COURT:      Excuse me.     That was a long time ago.
 9    That hasn't had a ruling yet from the First Circuit?
10               MR. HAVILAND:      No, no, no, it's never had a ruling in
11    the First Circuit.       Every time I try to get a ruling from the
12    First Circuit it gets opposed.           So the sanction order you just
13    did, which I think the issue which we're doing a reply brief
14    this week on is, counsel in the room says it's an extension of
15    your disqualification order.
16               Your Honor, I would be happy to never come --
17               THE COURT:      What?    You are now losing me.        Can I just,
18    like, just focus here?
19               MR. HAVILAND:      Please.
20               THE COURT:      So they said, "We're not happy the way
21    things are going, and, therefore, if he's not counsel, we don't
22    want to be part of this."          I remember viewing that as a
23    withdrawal.
24               MR. HAVILAND:      Okay.     I didn't hear that, your Honor,
25    nor did I think the counsel because we continued with the



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 1    representatives in place.
 2               THE COURT:      Well, can I just -- all right, you'll just
 3    keep notes as to what you're going to respond.               All right, so I
 4    did, and that's why we came back with Swayze.
 5               MR. HAVILAND:      Okay.
 6               THE COURT:      And, in any event, it doesn't matter; he
 7    still has the right to object.
 8               MR. HAVILAND:      Right.
 9               THE COURT:      He's still a member of the class, he
10    didn't withdraw from the class.
11               MR. HAVILAND:      Sure, and so --
12               THE COURT:      All right, so now you're objecting.
13               MR. HAVILAND:      Now we're objecting because
14    Mrs. Aaronson, Reverend Aaronson, they have been in this case
15    since 2005, were deposed.         They did everything they were called
16    upon to do.     They paid for Taxol, which is one of your very
17    important drugs.       I saw the PowerPoint, by the way.            It says
18    it's the best evidence in the case.            I mean, I like seeing that
19    because I agree, I tried the case against BMS in Pennsylvania,
20    and we got a very nice verdict against them; but Page 15 of the
21    slides says the primary spread marketing evidence was for
22    Taxol, '01 and '02.
23               Well, now, let's try to figure out how we can work
24    through the problem here because Reverend Aaronson is getting
25    8.8 percent.      The whole class is getting 8.8 percent of their



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 1    out-of-pockets.      So this settlement is nothing like what you've
 2    seen, what's being proposed on Track Two, what's been done in
 3    GSK or AstraZeneca.        They're taking the out-of-pockets and
 4    applying 8.8 percent.        And that's Miller's affidavit, and I
 5    cited you the slide at his affidavit, 7459 on the docket.
 6    Page 26 gives you the math.          It shows $32 million of
 7    out-of-pocket co-pays and $2.8 million being allocated.
 8               Now, that's the problem because you're going across
 9    the board just giving everybody 8.8 percent.
10               Now, Mr. Tretter has argued here that you shouldn't
11    give Paraplatin anything because there's no damages.                  This is
12    what's strange about it.         Mrs. Aaronson took both drugs, Taxol
13    and Paraplatin; but if you were to just do what you've done in
14    other cases, she'd get three times her damages that she's being
15    paid here, $500.       She'd get $1,500.       I'm sure Reverend Aaronson
16    would say that's the best I could do under North Carolina law,
17    Chapter 75, treble damages and attorneys' fees, he'd be happy
18    with that.
19               Now, you wouldn't give Ms. Swayze anything because
20    that's all she took.        She hasn't identified the carboplatin as
21    Paraplatin, which is important because you need to have the
22    standing to sue.       Reverend Aaronson --
23               THE COURT:      They said it was the same thing.
24               MR. HAVILAND:      Well, it's generic.        We don't know
25    that.    I'm sure Mr. Tretter would tell you that he doesn't know



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 1    if it's the BMS's Paraplatin.         It says "carboplatin."          If you
 2    look at the actual document that they filed, your Honor, it's
 3    just an EOB, which is odd.         When Mr. Tretter faced you in the
 4    summer of '07, he said, "I want to vet Ms. Swayze.               I'm
 5    entitled to vet her."        And I see her EOB, and it says that she
 6    took the drug in '03.        The EOB says the payment was made in the
 7    spring of '07, and he raised that as a concern for your Honor.
 8    What's going on here?        Did she get the drug in '03, and then
 9    why is Medicare paying it four years later?             And did she pay
10    for it?    Did she actually pay something out of pocket?                You
11    don't have any evidence in the record on that.              You just have
12    this EOB I heard today --
13               THE COURT:     Well, that's true for all that we --
14               MR. HAVILAND:      Well, in fairness, your Honor, every
15    one of my clients had to go through this very difficult process
16    to demonstrate their standing because we were in litigation,
17    okay, and so Reverend Aaronson is a viable class representative.
18               THE COURT:     Well, he pulled out.
19               MR. HAVILAND:      He didn't pull out, your Honor.            He's
20    right here today still with your January, 2006 order.
21               THE COURT:     Excuse me.     I've got to go back and read
22    the affidavit, but he said, "I don't want to be there if my
23    lawyer isn't there" or -- well, I'll find out.              We'll get the
24    docket number, and I'll go back and reread it.
25               MR. HAVILAND:      All right.     So if he's disqualified




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 1    when I was disqualified, then you're right, he's not here as a
 2    representative, and he's here just as an objector.
 3               THE COURT:      I didn't disqualify him.        He withdrew.           So
 4    he would have been -- I don't --
 5               MR. HAVILAND:      Well, our point is, you need to have a
 6    representative, somebody to give traction to this case that
 7    says to the lawyers, "Hey, you know what?             I've got cancer, and
 8    I see what you're doing, and I don't agree with it.                 I think
 9    you should do better."        That's why the $13 million, if you
10    order it, trebles.       That gives us the trebling.
11               And, your Honor, I do disagree with you.              The named
12    representative is the party in this case.             There was a trial in
13    this courtroom July 23.         We settled that case June 25.
14    Mr. Matt signed an agreement with BMS and said, "We commit to
15    all the material terms."         Your Honor ordered -- there was a
16    debate about whether or not there should be a distribution of
17    cy pres.     I just heard Mr. Matt say today it was because of
18    that AstraZeneca issue that we were arguing about it, should it
19    be guaranteed to go to some other source?             But the $13 million
20    is $13 million.      They committed -- BMS I'm pointing to --
21               THE COURT:      Excuse me.     You know, you're beating a
22    dead horse.     I'm here as to what we're doing here is fair.
23    Now, I think the $13 million does shed some light on whether
24    $4 million is enough.
25               MR. HAVILAND:      That's my point.



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 1                THE COURT:     But it doesn't mean I'm going to enforce a
 2    contract.     The issue is only whether $4 million is enough.
 3                MR. HAVILAND:     I don't think you have enough money,
 4    your Honor, to do anything nearly fair what you've done in the
 5    other cases, and that's the primary problem I've got with this.
 6    You've got allocation counsel that went in and just rubber
 7    stamped numbers they were given by an expert well after the
 8    trial.
 9                You know, it's interesting, we're now bringing the
10    30 percent limit back in.         We were going to trial and trying
11    these claims.      Your Honor had already ruled on Classes 2 and 3,
12    and a jury would have done what it would have done, but I felt
13    pretty good about what we were going to do in that case.                     I
14    actually tried this case last fall, and we won against BMS with
15    a judge on our statutory claim.           Mr. Tretter will point out
16    that the fraud claim the jury found against us, but we found
17    liability on a statutory claim, $27.6 million.
18                THE COURT:     Where was this, Pennsylvania?
19                MR. HAVILAND:     In Pennsylvania.       I want to hand that
20    up to you.
21                THE COURT:     This is like a consumer protection
22    claim --
23                MR. HAVILAND:     It is, your Honor.
24                THE COURT:     -- a bench trial?
25                MR. TRETTER:     It had nothing to do with Taxol, and the



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 1    judge refused to apply the 30 percent.
 2               MR. HAVILAND:      Well, your Honor, I want to hand that
 3    up because it's the only other verdict -- it's the only other
 4    time that BMS went to trial, and they lost.
 5               THE COURT:      Without knowing more context, it would be
 6    hard for me to evaluate it.          But, in any event, I understand
 7    your position is, you agree he's no longer class rep.                   Did you
 8    need compensation for him for the time that he spent during
 9    the -- did you put in money for him?
10               MR. HAVILAND:      I didn't, your Honor.        We put in --
11               THE COURT:      You did or you did not?
12               MR. HAVILAND:      I did in the GSK.       He was never paid an
13    incentive fee.      He should have been.        We need to put another
14    affidavit in for him and Mrs. Hopkins, our Class 3
15    representative, who testified in your trial.              I don't know if
16    you remember that.
17               THE COURT:      Why didn't you send in --
18               MR. HAVILAND:      We were never called that they were
19    going to do an incentive fee.
20               THE COURT:      That probably needs to happen.
21               MR. HAVILAND:      They excluded them.        I mean, they
22    excluded Reverend Aaronson and Mrs. Hopkins, and that's
23    upsetting to them that they put their time in.
24               THE COURT:      All right, all right, that's a different
25    issue, but let me just --



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 1               MR. TRETTER:      May I be heard for one second, your
 2    Honor?
 3               THE COURT:      Yes, eventually.      So the objections are on
 4    the grounds of what?
 5               MR. HAVILAND:      Well, number one, your Honor --
 6               THE COURT:      It's not fair because --
 7               MR. HAVILAND:      -- we filed a motion to enforce a
 8    settlement saying that there was $13 million, which is more --
 9    it's enough to give people what you wanted to give them the way
10    you've just framed your argument.           If you try to do anything
11    else, you don't have the money.           The $13 million was agreed to,
12    and it's part of the $19 million, so I think you reallocate and
13    give the $13 million to consumers.
14               THE COURT:      Well, if I either doubled or trebled what
15    I'll call my heartland damages and gave something to the
16    others, some percentage of their actual out-of-pockets, why
17    isn't that fair?
18               MR. HAVILAND:      I'm not saying it's not fair, your
19    Honor.    I think that that would be fair.           If you give people
20    trebling in the heartland --
21               THE COURT:      I said double or trebled, depending on --
22               MR. TRETTER:      And I think you can do that within the
23    existing numbers.       That was going to be my point, your Honor.
24               THE COURT:      Maybe.    I'm just --
25               MR. TRETTER:      Well, if I could --



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 1               THE COURT:      Can you just let him finish.
 2               MR. HAVILAND:      I'm almost finished, your Honor.               I
 3    just want to point out to you that the exhibit Mr. Miller put
 4    in with the $2.8 million, which is net after fees and costs is
 5    allocated, it's 8.8 percent, that's not damages, so let me be
 6    clear about that.       Damages are set forth in class counsel and
 7    BMS's Joint Motion For Final Approval at Docket 7454.                   On
 8    Page 11 they set forth what the damages are.              For Taxol it's 34
 9    percent, not 8.8 percent.         So you have to re-jigger, using
10    Mr. Tretter's words, the numbers to get to actual damages and
11    then trebling.      And that's where, if I start running those
12    numbers, you go well above $2.8 million very quickly just
13    trying to deal with the heartland, not to mention what you do
14    with Paraplatin and the single-damages drugs.              I don't know
15    that you could find, your Honor, that it's fair, reasonable,
16    and adequate to take away someone's claim on Paraplatin and
17    give them nothing.       I think that that claim could be tried,
18    should be tried.       To give them zero in this settlement --
19               THE COURT:      It may be, it may be, yes.         I'm not saying
20    to give nothing, but it's a much weaker claim, much weaker,
21    so --
22               MR. HAVILAND:      I agree.
23               THE COURT:      So it may be that it's not entitled to the
24    multiple damages or even full actual damages.              So let me
25    just -- all right, I think I hear -- by the way, your motion to



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 1    disqualify class counsel is untimely.            That I got today, I
 2    think today.
 3               MR. HAVILAND:      Your Honor, the problem I have is that
 4    you've got counsel who decided to abandon $13 million.
 5               THE COURT:      Excuse me.     You know what --
 6               MR. HAVILAND:      And instead of fighting for that in
 7    allocation --
 8               THE COURT:      You've known that for two years and you
 9    file it this morning?
10               MR. HAVILAND:      Your Honor, I have been on trial.                What
11    I did is read what Mr. Tretter said.            He called it a conflict
12    at the time.      He opposed what they --
13               THE COURT:      Yes, I'm overruling the motion to
14    disqualify on complete untimeliness.            But he has objected, and
15    he preserved the $13 million issue.            That's been here all
16    along.    I've treated it as an objection.           I think it's properly
17    treated as an objection, and that's been timely.               So that's
18    part of this case right now as to whether or not the
19    $4 million, or whatever it is, is a fair number.
20               MR. HAVILAND:      And that's our objection.          I do want to
21    point out, your Honor, there was representations -- I read the
22    fairness hearing from the Class 2/3, Mr. Sobol's discussion
23    with you, and there was a representation that you've already
24    dealt with the class.        I don't believe you have.         I don't
25    believe you've dealt with the class issues you've got before



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 1    you.    You have a broader class because you added in those
 2    additional states like the AstraZeneca settlement, so it's a
 3    bigger class.      You also have a new representative being
 4    proposed, and she hasn't been vetted.
 5               THE COURT:      Right, I --
 6               MR. HAVILAND:      So I just want to make clear that I
 7    think there is a level of class findings you need to make under
 8    Amchem to find it's fair.
 9               THE COURT:      I agree with that.
10               MR. HAVILAND:      Thank you, your Honor.
11               THE COURT:      I absolutely do have to do that.             But that
12    having been said, what I don't appreciate is having it all come
13    up -- arguably, it's two weeks late, I'm going to accept it,
14    but not the thing this morning.           That's way too late.
15               MR. HAVILAND:      Can I just address that, your Honor?                    I
16    really want to address that because July 3, 2007, your Honor
17    said, "Well, keep Mr. Haviland in the loop."              They didn't.
18    Last summer as I was about to go on trial against Mr. Tretter's
19    client, you said to class counsel, "Well, why don't you reach
20    out to Mr. Haviland and find a simple solution," and Mr. Wexler
21    said, "I'll do that."        I never got a phone call, an e-mail.                 I
22    don't like coming up here as a pro bono counsel, your Honor,
23    because I've not been paid or reimbursed anything in this case,
24    but I do it for my clients because they ask me to.
25               THE COURT:      Well, excuse me.      There's some money put



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 1    in for you.
 2               MR. HAVILAND:      I've gotten nothing, your Honor.
 3               THE COURT:      Excuse me.       There's some money put in for
 4    you.
 5               MR. HAVILAND:      I did see that.       For the first time
 6    I've seen that, that they just put something --
 7               THE COURT:      I noticed it.
 8               MR. HAVILAND:      I have to go back and look at it and
 9    see if it's the money that I actually incurred, but --
10               THE COURT:      The claim is what you said was your
11    lodestar, so you must have put in something for them to come up
12    with that dollar amount.
13               MR. HAVILAND:      Well, I gave them time a long time ago,
14    your Honor.     I'm just saying that we've never gotten an expense
15    back, period, in this case, given the situation we have, but I
16    never got a phone call.         I'm saying to you, you pick up the
17    phone, maybe we could have worked some of this stuff out.                      We
18    didn't have to have today be what it is today.
19               THE COURT:      Mr. Wexler, did you call him back?              Did
20    you call him?
21               MR. WEXLER:      Did I?    No.     I'm having a hard time
22    recalling --
23               THE COURT:      I remember that actually.
24               MR. HAVILAND:      I read the transcript, your Honor.                 It
25    was news to me somebody was going to call me.



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 1                THE COURT:     You may have forgotten, but it --
 2                MR. WEXLER:     But, you know, I can assure you that
 3    there were many attempts to talk to Mr. Haviland over the years
 4    by a lot of different counsel at this table.
 5                THE COURT:     Maybe.     Things did fall apart.
 6                MR. HAVILAND:      I appreciate your time, your Honor,
 7    very much.
 8                THE COURT:     All right, thank you.
 9                MR. MATT:     Okay, your Honor, there is a few points
10    that I want to clarify in the record about the history of
11    Mr. Haviland's involvement and about Mr. Aaronson's
12    involvement.      Your Honor was very, very upset with Mr. Haviland
13    and those clients because Mr. Aaronson signed a declaration in
14    August of 2007 that said, quote, "If Mr. Haviland and his firm
15    cannot serve as class counsel, I would like to withdraw as a
16    class representative."
17                THE COURT:     What's the docket number on that?
18                MR. MATT:     4649.     Your Honor was very, very upset, and
19    understandably so, as were class counsel.              The fact that no one
20    called Mr. Haviland, I mean, there's no secret here that, you
21    know, in light of the circumstances in this case in which you
22    disqualified him for taking actions contrary to the interests
23    of this class, including the representation of a competing
24    class in New Jersey without disclosing that to your Honor,
25    including filing confidential materials in the public record,



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 1    he's done a lot of things that --
 2                THE COURT:     You know what, I don't want to relitigate
 3    all that.     I did what I did.       I remember getting the phone call
 4    from some judge, whose name now escapes me, from New Jersey.                         I
 5    remember that.       But going forward -- all right, so you've
 6    reminded me, his guy withdrew.           He probably should still get
 7    some compensation for the time he spent on the class matters.
 8                MR. MATT:     We have no problems with that, your Honor,
 9    and we agree that the objection is timely.
10                THE COURT:     Right, and the objection is timely, not on
11    your motion to disqualify you; but it is also accurate that I
12    think I need to make class findings.             It's a different class.
13    And I also have to afresh, anew decide whether or not this is
14    fair because the $13 million would have probably paid off
15    everyone at treble.
16                MR. MATT:     The $4.3 million still may, your Honor.
17                THE COURT:     It may, it may.       I don't know.       So that's
18    what I need to think about.          And I also need to think about
19    expenses and what's the right percentage for attorneys' fees.
20    I mean, all of this comes into a certain, you know, what's the
21    final sum.
22                MR. MATT:     And on that point, it's important to
23    understand the difference between co-pays and damages.
24    Mr. Haviland just said the class is getting 8.8 percent of
25    their out-of-pockets.        That's not true.       What's important to



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 1    look at is damages, not their co-pays, because the damages are
 2    a smaller percentage of the co-pay.
 3                THE COURT:     I agree, so what did --
 4                MR. MATT:     So it's just not true they're getting
 5    8.8 percent of out-of-pockets.           They're getting between 52 and
 6    102 percent.      Like his client is getting 102 percent based on
 7    the sample we did.        So I just want to make sure we're comparing
 8    apples to apples when we're talking on the record.
 9                THE COURT:     What does the notice say?         I can't
10    remember.     Did the notice say it was going to be double or
11    treble their damages or their co-pays?
12                MR. MATT:     Their co-pays.      That's just the
13    distribution methodology, but the notice also says --
14                THE COURT:     Mr. Sobol is having heart failure back
15    there.
16                MR. MATT:     The notice also says that it's going to be
17    prorated, okay.       So you actually have -- you build a formula.
18    The formula is based on their co-pays.             And then the class was
19    advised that "Your recovery may be lower than this, depending
20    on the number of claims when we do a proration."                So they
21    weren't guaranteed triple their co-pays.
22                THE COURT:     I understand that, but --
23                MR. MATT:     I just want to make sure that that is clear
24    on the record because --
25                THE COURT:     Excuse me.     When I'm trying to evaluate



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 1    it, you know, I've got to see, is it fair?              And if the notice
 2    says "co-pays," I can see where he came up with the 8.8.                      Now,
 3    you're telling me I should think about actual damages, which is
 4    frequently less than that, right, because they had to pay
 5    20 percent of the delta?
 6                MR. MATT:     That's correct.
 7                THE COURT:     So is there a way of evaluating that and a
 8    way of --
 9                MR. MATT:     That's what we're going to do for you, your
10    Honor, and report back.
11                THE COURT:     Okay, okay.      In other words, evaluate
12    what's the actual damages as opposed to co-pays, the percent
13    that they'll get paid, if we can come up with that figure.
14    But, more importantly, in terms of allocation, I would like to
15    give the people with the strongest claims -- I'm holding open
16    the issue of Rubex.        I don't understand it well enough as to
17    why you took it out, but, in any event, maybe give me options
18    with and without Rubex, doubling, trebling, where that leaves
19    the people with Paraplatin.
20                Let me ask you this:        What is the issue with -- she
21    says carboplatin.        Was that manufactured -- that's the generic?
22                MR. MATT:     Carboplatin is the chemical name for
23    Paraplatin, which is the brand name.
24                MR. TRETTER:     It was single source in 2003.             It went
25    generic in 2004.



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 1                THE COURT:     All right, so we know it was a BMS drug.
 2                MR. TRETTER:     And that one had to have been the BMS
 3    product if it were in fact administered in 2003.
 4                THE COURT:     All right, now, that's your question,
 5    which is, how do we know since it wasn't billed till 2007?
 6    That's, I guess, the question that BMS raised.               What have you
 7    done to be sure that that's when she -- is that from CMS?
 8                MR. MATT:     We have the dates of her administrations,
 9    your Honor, yes.
10                THE COURT:     Why don't you just put something in the
11    record.     I don't want this woman to be -- if you have an
12    affidavit that says, you know, "Here's our documentation,
13    here's the data from CMS," the representation from
14    Bristol-Meyers that it was a single-source generic in the first
15    year, which is in fact the way it usually is, I am satisfied
16    that she would be an adequate class representative.                  So I don't
17    think we need to bother her at her home, but I do think, in
18    fairness, since I have to decide she's an adequate class rep, I
19    should have that in the record now that it's been challenged,
20    okay.
21                MR. MATT:     We'll do that.
22                THE COURT:     Now, now that it's been raised for me, I
23    would love some sort of way of thinking about doing something
24    along the lines of what I did for AstraZeneca, providing the
25    other people with some damages, because, as you say, a jury



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 1    could have seen it otherwise, but recognizing that there's a
 2    stronger claim for people who had such huge mega spreads.                       And
 3    so I guess you think, Mr. Tretter, we can do that within the
 4    allocation.
 5                MR. TRETTER:     I would like to be heard, your Honor.
 6                THE COURT:     Yes, I will, I'll get to you.
 7                So you're going to get that back to me, right.
 8                MR. MATT:     We will.
 9                THE COURT:     All right.
10                MR. MATT:     And there's already materials in the record
11    about the drugs that Ms. Swayze took.             We will supplement that
12    record with a little bit more direct a declaration.                  Also, I
13    was just handed a document which indicates she was also a
14    recipient of Taxol.        So it's Taxol and Paraplatin.           I don't
15    know why this wasn't attached to the declaration.                 We'll put
16    this in the record.        And just so you know also --
17                THE COURT:     Just to nail it down.
18                MR. MATT:     -- there was a vetting process.            I mean,
19    you know, the documents were pulled together.               They were
20    produced to BMS.        They saw that she did in fact have these
21    administrations as reflected in the hospital records.                    So she's
22    not someone that's unknown to the parties, your Honor.                    She
23    just hasn't had her deposition taken.
24                THE COURT:     Fine.     And if the records are clear-cut,
25    she won't need to.



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 1                MR. MATT:     Thank you.
 2                THE COURT:     If they're not clear-cut, then I'll have
 3    to revisit it.       But you seem to think it's pretty clear-cut,
 4    so --
 5                Go ahead, your turn.
 6                MR. TRETTER:     Thank you, your Honor.         I'd like to
 7    address the issue that you've raised about the $4 million.                         The
 8    $4 million is a figure that was the single damages figure that
 9    came up by Dr. Hartman for all of Class 1.
10                THE COURT:     So that's from 1991 to 2004, all drugs?
11                MR. TRETTER:     Right, all drugs all around.            Of course,
12    we had a very different figure through Dr. Bell, which was
13    $1 million to $2 million, implementing your Honor's decision in
14    the Class 2/Class 3 December 2006 trial.              When you came out
15    with your decision and you said "This drug this year" and were
16    very precise about which drugs had the biggest spreads and
17    which drugs didn't, we overlaid that, or Dr. Bell did, and he
18    came up with $1 million to $2 million for Class 1, okay?                      So
19    that was --
20                And then the other thing that I want to point out is,
21    when we were back here in November on the Class 2/Class 3,
22    Mr. Sobol said, well, let's see what the actual claims
23    experience is, what does Rust get in?             And I think that that's
24    been -- I wasn't able to address that in my papers because I
25    didn't have it at the time, but if your Honor has this one



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 1    affidavit that Mr. Haviland was talking about, I think it will
 2    go to the issue of whether there's enough money within a
 3    $4 million settlement to do the doubling or tripling of
 4    whatever you want in the so-called "heartland drugs."
 5                THE COURT:     And that's tab?
 6                MR. TRETTER:     There is a declaration of Eric J.
 7    Miller.
 8                THE COURT:     Do you remember, is this part of the tabs?
 9                MR. TRETTER:     Oh, I don't know how they set up your
10    binder, your Honor.        It's a declaration of somebody from Rust.
11                THE COURT:     Do you have it?
12                MR. TRETTER:     Eric J. Miller, it's Document No. 7459.
13                THE COURT:     Wait, let me just -- I've got Berman,
14    Goldenberg, Wilkinson, Miller.
15                MR. TRETTER:     Miller, okay, and Miller has lots of
16    exhibits, and I would like to focus, your Honor, Exhibit D, all
17    right?    And if you see on the left, there's a list of the BMS
18    drugs at issue by their brand name.
19                THE COURT:     Yes.
20                MR. TRETTER:     And then there are dollar figures by
21    drug, and my understanding -- and class counsel can correct me
22    if I'm wrong -- is this is the total co-pays, not the alleged
23    inflation or damages, that were received by drug by Rust; and
24    then in the second column is an estimate if they cured
25    25 percent more.       Do you see that, your Honor?



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 1                THE COURT:     Yes.
 2                MR. TRETTER:     And if you keep going over, they add the
 3    two columns to get you, in the case of Blenoxane, $113,000 of
 4    total co-pays.       And they have something called the "percentage
 5    overpayment."      Now, this is Dr. Hartman's thing.            I don't want
 6    to suggest that I endorse this, but he found zero damages on
 7    Blenoxane, so he comes out with a zero there.               He finds that of
 8    the total co-pay for Cytoxan, there was a 53 percent inflation
 9    rate.     Do you see that, your Honor?
10                THE COURT:     Yes.
11                MR. TRETTER:     So Rust comes up with a single damages
12    for Cytoxan for the people who responded of $193,000.                    I
13    suggest you could double that amount without very much problem
14    in this case.      And, you know, you'd have to find it somewhere,
15    but we can talk about Paraplatin and Taxol in a second.
16                If you go down to the bottom, your Honor, which is
17    another one of the big drugs that you said, you know, large
18    spreads because Vepesid went generic in the early 1990s, it's
19    $90,000.     That's the alleged single damages; again, easy to
20    double or triple within this regime.             I would suggest to you
21    that --
22                THE COURT:     Actually, Rubex is pretty big.
23                MR. TRETTER:     Rubex is a very strange case, your
24    Honor, and I think what I bring to this table today is, I
25    understand BMS sales of BMS drugs.            I don't think that that --



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 1    I understand that the people were entitled to just sort of sign
 2    a document and they don't have to show that they received the
 3    Bristol drug.      We didn't even sell $1.7 million worth of Rubex.
 4    In fact, we didn't sell at all in 2001 and 2002.                I would be
 5    surprised, if somebody went into the actual claims, that there
 6    was a lot of real BMS Rubex utilization.              It's really going to
 7    be Pharmacia utilization.
 8                So I think there is a good reason -- I mean, I
 9    understand class counsel has their reasons and the Court
10    probably has its reasons for saying, "I just want to pay
11    people.     I don't want them to have to comb records.               I don't
12    want them to have to do anything," but I think there are strong
13    reasons why you would not want to treble Rubex.
14                THE COURT:     Well, that's useful as well.
15                MR. TRETTER:     And I can tell you that, and we could go
16    back into the actual data of sales --
17                THE COURT:     I would just need more of a record for
18    that.
19                MR. TRETTER:     I understand, but if you stick with me,
20    your Honor, I think if you looked at Blenoxane, which was
21    zeroed but you gave them something, you doubled Cytoxan and you
22    doubled Vepesid, you're not very far from the actual amounts
23    here as long as you just take down Taxol and Paraplatin some.
24                THE COURT:     Well, that might be a way of possibly
25    reordering it.



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 1                MR. TRETTER:     Right, without interfering with the
 2    whole allocation because I stand from the proposition that I
 3    can't believe that people are looking at a $4 million nominal
 4    settlement for Class 1 when -- as a problematic because it's
 5    huge compared to the $1 million to $2 million that we thought
 6    Class 1 would be entitled to.
 7                THE COURT:     Okay, thank you.
 8                MR. TRETTER:     Okay, I'll sit down.
 9                THE COURT:     And it would be very useful, though, if
10    you could get me some support for what you were saying, that
11    that figure seems to dwarf what you actually had sales for.
12                MR. TRETTER:     I just have one other point.            On Taxol
13    your Honor found and the reason why we have these differences
14    is that is Taxol throughout the entire 1990s never broke the
15    30 percent rule.       It didn't go generic until 2001, so you have
16    a tremendous number in Taxol here of claims --
17                THE COURT:     Right, but it wasn't one of the heartland
18    drugs where there was a clear liability, right?
19                MR. TRETTER:     Well, only for two years, Taxol for 2001
20    and 2002.
21                THE COURT:     Right.
22                MR. TRETTER:     That's it.      I mean, but this $7 million
23    of Taxol co-pays is probably going back to 1991.
24                THE COURT:     Right.    So when I'm asking them to go back
25    to what I call the "heartland period," it was for which I found



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 1    liability, not --
 2                MR. TRETTER:     And I'm saying that even though Taxol is
 3    a treble drug, you only found it for --
 4                THE COURT:     Two years.
 5                MR. TRETTER:     -- an extremely small piece of the class
 6    period.
 7                THE COURT:     Right, so they're going to go back and
 8    recalibrate.
 9                MR. TRETTER:     Rebalance.
10                THE COURT:     Rebalance is a little bit better than
11    the -- "re-jigger" just doesn't have that formality to it.
12                MR. TRETTER:     Thank you, your Honor.
13                THE COURT:     But, I mean, you know, come back, you'll
14    come up with a proposal.
15                Now, on attorneys' fees, let me ask you this.                 I've
16    not done this before.        One thing I'm thinking about is a
17    different percentage for Classes 2 and 3 as from Class 1.                       And
18    the reason I am saying that, it actually has nothing to do with
19    the current dispute but the amount of time it's taken after the
20    $13 million settlement to come to resolution on Class 1.                      We've
21    had discussions over the last year or two about this issue, and
22    I know it's said that one of the reasons is efficient,
23    expeditious -- I forget the words -- counsel.
24                I'll say for the record, I think, legally speaking,
25    the plaintiffs' class team has been excellent in terms of all



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 1    the legal issues and the legal hurdles.             And you did take a
 2    risk, and that's why I gave 33 1/3 percent for the first
 3    settlement out of the box.          You've taken risks, et cetera.                But
 4    it took too long for this particular settlement, not the 2 and
 5    3.   Even that's a little bit of a problem and Track Two is a
 6    little bit of a problem, but you know my sense of utter
 7    frustration with Class 1.
 8                MR. MATT:     We recognize your frustration, your Honor,
 9    and, you know, we had a year delay out of the box because we
10    had this disagreement with BMS.           We weren't just sitting
11    around.     We were trying to reach resolution.            In fact, we went
12    back to Professor Green before we even came to you with a
13    dispute.
14                THE COURT:     Why didn't you just move for a preliminary
15    approval?     I would have jump-started this.           I would have done
16    something.
17                MR. MATT:     In hindsight, we wish we had come to you
18    earlier.     We're sorry we didn't.         But that was the first year
19    of delay.     That's where I think the delay was, but we were
20    trying.
21                THE COURT:     And then it took forever to get this data.
22    For some reason you hooked BMS into Track Two in terms of going
23    to that vendor who works with CMS, and that then took forever.
24    So I'm thinking about -- I don't have those issues as much for
25    Classes 2 and 3, but we did have the $13 million on the table



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 1    since 2007.      It's been a worry for me.         So I'm thinking of, and
 2    I don't know if there's a reason I can't do it -- I'm flagging
 3    this -- of having, you know, my classic 30 percent for the
 4    Classes 2 and 3 and a smaller percentage for Class 1.
 5                MR. MATT:     I think you can do it.        I don't think it
 6    requires --
 7                THE COURT:     There's no legal bar to doing that?
 8                MR. MATT:     No.   As long as you aren't charging
 9    Classes 2 and 3 more as a result, I think --
10                THE COURT:     No, no, no.      I mean, I've been
11    systematically doing 30, which is what you've assumed, but I
12    must say that for Class 1, I'm not -- I understand, I've read,
13    you know, how you all won't get that much of a multiplier, but,
14    you know, you keep coming back to the expenses and how I should
15    take into account that you've folded those in.               But the flip
16    side of it is, I don't get to do any due diligence about them.
17    I don't know how they're allocated; I don't know if they're
18    reasonable; I don't know anything about them.               You haven't even
19    sought to tax them against the other side, which some of them
20    maybe could be allocable?          So I have a hard time just getting
21    my arms around what to do with that figure.               It's a big figure,
22    but you've decided to absorb it rather than have them audited,
23    or, you know, have me look at them.            I'm assuming it's a fair
24    amount, but --
25                MR. MATT:     It's a bona fide lodestar, your Honor.



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 1                THE COURT:     I know you say that, but I can't exercise
 2    my fiduciary about them.         So I'm taking you at your offer,
 3    which is just to fold them in, but then you've got to take the
 4    downside that comes with that.
 5                MR. MATT:     I think the bottom line here, your Honor,
 6    is, the multiplier is going to be very small at the end of the
 7    day.    We're at, you know, approximately 1.2 now.              It's going to
 8    continue to, you know, decline because we have lots of
 9    administration issues.         We still have T-2 to get approval of.
10    We still have Mr. Haviland appeals to deal with.                There's still
11    a lot of work left.
12                THE COURT:     Well, yes, we'll get to that.           I am deeply
13    concerned -- that's why I was so upset that this took so
14    long -- it's a dying class.          I'm worried, actually, the reason
15    you only came up with such a small number is so many of these
16    people are probably now frail or dead, and so -- not on the
17    Medicare actually but on the other side.              I am worried about
18    the appeal; there's no doubt about it.             I am worried about it
19    because, Mr. Haviland, if you take it, all these people are
20    going to be dead and never see their benefits.               And so I don't
21    know how to resolve that, and I asked last time that you try
22    and work it out, and I'm asking that again.               And I understand
23    it looks like a payoff, and there's a piece of me that it rubs
24    totally the wrong way to buy off an appeal.               That having been
25    said, I'm asking you on behalf of the interests of this class



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 1    not to delay this another two years while it goes up on appeal.
 2                MR. HAVILAND:      I'm not looking to do that at all.                   I
 3    thought that we were going to move forward with the MOU back in
 4    '07.
 5                THE COURT:     Please, excuse me.       You don't believe that
 6    now.     I mean, so the MOU, you waited a couple of years, I think
 7    it was, after you knew about the change in the settlement.                          At
 8    this point I am imploring you all as members of the court.
 9    I've got an old and dying class, old and dying.                That's why I
10    was -- I say that, it's almost like a mantra -- that's why I
11    was so upset and I started requiring monthly status reports on
12    getting the data.        I'm more worried about this than any other.
13    This is the breast cancer case, just like AstraZeneca was the
14    prostate cancer case.        I am as eager as I can that unlike
15    Mrs. Aaronson, that all of these women who had to pay too much
16    money will get them.        And to the extent I can move this along
17    or there's a way of trying to resolve it, I would like you to
18    try and do it because if you appeal it, it will take another
19    year and a half to two years.
20                MR. HAVILAND:      Well, I would hope there's enough money
21    there.     I do have a question which kind of helps things because
22    you're finding ways to allocate; and re-jiggering with a
23    limited of $19 million, that's the problem we're running into
24    because we're going to be taking at some point from TPPs.                       I
25    don't see how we don't do that.



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 1                THE COURT:     I don't know.      I have to see the way that
 2    they've -- I'm only looking for those years in which I found
 3    liability as either a doubling or a trebling -- I'm not vested
 4    in that -- and something to the other folks because, as you
 5    point out, a jury could potentially find them something, and
 6    that's what I'm trying to figure out.             It may be you're right,
 7    and I would ask them to go back to the drawing boards if
 8    it's -- but I'm also, as you've just heard, trying to deal with
 9    the attorneys' fees issues.          I also need you to submit some
10    money on behalf of Reverend Aaronson and -- I forget, you
11    mentioned another name?
12                MR. HAVILAND:      Mrs. Hopkins.
13                THE COURT:     Was she the BMS?
14                MR. HAVILAND:      She was a Class 3 representative who
15    testified at trial.        She was the one who knew --
16                THE COURT:     I'm basically paying $100 an hour for
17    people who sought to benefit the class.             It's, I thought, a
18    reasonable figure without going into who doesn't -- you know,
19    they're older people, they're probably not working at all right
20    now, but I thought that was at least a reasonable ballpark
21    figure.
22                So at this point what I am going to do is ask people
23    to supplement, and I will come up with a number.                And I am
24    hoping that you'll all have an opportunity to talk.                  I am not
25    going to be enforcing the $13 million settlement.                 Personally I



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 1    thought it was reasonable to go back to the drawing boards, but
 2    then I have to decide whether this is fair and reasonable, and
 3    I want to see what my options are to do that.
 4                Now, you've --
 5                MR. HAVILAND:      Can I ask you a question about the
 6    attorneys' fees --
 7                THE COURT:     Yes.
 8                MR. HAVILAND:      -- because you made the point, and I've
 9    had the question myself, about taxing the defendant.                   This case
10    went to trial, and there was a verdict under Chapter 93.                        My
11    understanding is, there's a fee component to that that's
12    mandatory.     I may be wrong on that, but I looked at the
13    cases --
14                THE COURT:     It's not mandatory.        You can settle
15    anything under the sun.           I mean, if you can waive your Fifth
16    Amendment rights, et cetera, you can do anything.                 So, you
17    know, you can settle.        They've settled.       They've agreed to
18    absorb them under their attorneys' fees.              That's their right to
19    do that.     If it were a different situation, maybe I'd feel
20    differently.      But then you can't sort of use it against me in
21    the sense of, oh, and the investment doesn't come back.                     I
22    mean, that's a risk that you've all taken; that's part of your
23    investment in the case.
24                But let me just go back and just deal with Track Two
25    for a minute.      As I put on the record before, it may be that I



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 1    have a conflict dealing with the alleged collusion between -- I
 2    don't even remember who it was between, but one of the names
 3    that was mentioned was Health Care for All.               So I've asked
 4    Judge Bowler to possibly take -- I'm going to refer -- well,
 5    let me ask you this:        Is it still an issue?
 6                MR. HAVILAND:      I think you appointed HCFA as the class
 7    rep on the settlement, your Honor.            I think it is.
 8                THE COURT:     As to whether there was collusion --
 9                MR. HAVILAND:      I just read your order, and I went back
10    to look --
11                THE COURT:     This is why these things take so long.
12    The world changed.        My daughter just took a job there.              I had
13    forgotten all about it.         I had mentioned it to Mr. Sobol --
14                MR. HAVILAND:      I actually think Health Care for All --
15                MR. MATT:     Muriel Tunacio is the Class 1
16    representative for Track --
17                THE COURT:     What?
18                MR. MATT:     Muriel Tunacio is the Class 1
19    representative.
20                THE COURT:     Is Health Care for All class rep still in
21    Track Two for anything?
22                MR. MATT:     I don't -- again, I'm not Track Two guy,
23    but I don't think so.        I do not think so.
24                THE COURT:     I couldn't remember.        I don't think that
25    they are.



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 1                MR. HAVILAND:      Class 3, your Honor, I believe they're
 2    the appointed rep.
 3                THE COURT:     Well, go check.       It either is or it isn't.
 4    They think it isn't; you think it is.             Why don't you just talk
 5    about it.     It either is or it isn't, but, in any event, I
 6    obviously, if they're still in it, can't deal with them.                      So we
 7    have a choice as to how to deal with it.              I'm not taking myself
 8    off the whole case.        I'll only deal with whatever the Health
 9    Care for All aspect is, if they are in at all.               So you'll look
10    and let me know, are they in at all?             But regardless of whether
11    they're still in, if they are still in, I can refer to
12    Judge Stearns; Judge Bowler, if you agree to let her just
13    resolve them, because she's so familiar with the case.                    And the
14    other judge who I think has had something to do with AWP was
15    actually Judge Young because he had one of the criminal cases.
16    And Judge Zobel of course is taken up by all the appeals.                        So
17    I'd like to go to somebody who actually isn't starting from
18    scratch.
19                So let me start from this:         Would anyone here disagree
20    with my referring for just on the merits to Judge Bowler
21    whatever dispute comes in, if Health Care for All is still part
22    of this?
23                MR. MATT:     Your Honor, let us take a look first
24    because this could be a completely hypothetical debate.                     We
25    don't know if we even have this issue.             If we don't have this



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 1    issue, it would be plaintiffs' strong preference that nothing
 2    gets referred because it's going to turn into a sideshow, and
 3    we're going to take up the time of another judge.                 I mean, it's
 4    just --
 5                THE COURT:     I don't know.      Well, so my option is on
 6    the table:     Agree to Judge Bowler, which is my personal
 7    preference because she knows so much about it.               I don't know
 8    whether it makes sense to have Judge Stearns do it because he's
 9    been doing the Lupron case, but it raises some of the very same
10    issues; or Judge Young, who I think at least knows the AWP
11    issues, he knows them.         And so I need a solution here.             I need
12    a --
13                MR. HAVILAND:      I'm happy to go on record as saying
14    that I have no objection to Judge Bowler or Judge Young.
15    Judge Stearns has before -- well, actually it went up on
16    appeal.     He has an $11 million cy pres involving PAL.
17    Mr. Wilkinson argued about it, and one of my clients there is
18    objecting to that, so there's an issue there.
19                THE COURT:     Well, just try and -- if it -- just I
20    can't.    I mean, that's one thing, as of two months ago couldn't
21    do it.
22                Now, let me ask you another.          Prescription Access
23    Litigation has been involved in some of these.               Do they have a
24    common umbrella with Health Care for All?              I'm now a little
25    confused about all the relationships.



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 1                MR. MATT:     Well, first of all, when you say it's been
 2    involved, PAL is not the named representative in this case
 3    under any settlement.        They're not.
 4                THE COURT:     Okay, okay.
 5                MR. MATT:     No cy pres was ever intended to go to PAL.
 6    They won't even except it if you give it to them.
 7                THE COURT:     Okay.
 8                MR. MATT:     They put that in a declaration.            And so,
 9    you know, PAL was allocation --
10                THE COURT:     This may be a nonissue.
11                MR. MATT:     PAL represents consumers.         You know,
12    they're a nonprofit to do that.           They're allocation counsel.
13                THE COURT:     Well, as I say, I'm for cy pres if it's a
14    few thousand dollars left over that you can't distribute.                       I
15    mean, of course, there's a reason for cy pres.               It's when the
16    amount of the cy pres dwarfs the amount of the payout that I
17    get nervous.      That's probably the best way of putting it.                   It's
18    a red flag for me.        And then I say, can I give those consumers
19    any more?     I think we've been through this.
20                So on Track Two, how much is about to be left over?
21    Do we know whether it's a big cy pres and who it would be going
22    to?
23                MR. MATT:     We don't know.      It's too early, your Honor.
24    We're back here before you on June 13.             We're not expecting a
25    significant cy pres.



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 1                THE COURT:     And didn't we do something with
 2    AstraZeneca where essentially you all came back to me and asked
 3    me to approve, and you just did that and I think I just
 4    approved it?
 5                MS. CONNOLLY:      Yes, you did, you approved a partial
 6    distribution of the Class 1 funds, and then we're going to try
 7    to increase the consumer distribution and come back to you, and
 8    hopefully there will be a smaller amount left to --
 9                THE COURT:     A true cy pres, I mean, that's fine,
10    that's fine.      So just let me know.        Talk.    It's been a lot of
11    years of water under the bridge.            I know that there's been some
12    hostile feelings, but I am very eager to just get this money
13    out the door.      I'm just very eager to get it out the door, and
14    so see what you can work out.           And if not, I'll just do what I
15    do, write my opinion, and then it will have to go up on appeal.
16    But I've got to get it to the next step.              I need to do
17    something with it fast.         So when do you think -- as you know,
18    I'm out of town a lot these days, so can you do it by
19    mid-April?
20                MR. MATT:     I think we can get a recommendation for you
21    on a rebalancing.        You know, Rust will run the data and give
22    you some snapshots to look at, you know, real-life stuff,
23    probably by the end of next week.
24                THE COURT:     Good.
25                MR. MATT:     Okay, we'll give this a high priority.



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 1                THE COURT:     And if either BMS or Mr. Haviland on
 2    behalf of Reverend Aaronson has any feedback or objections or
 3    agreement with anything there, that would be very good for me;
 4    and then, if not, I'll just have to write an opinion.                    I don't
 5    plan on coming back in here.          As far as I'm concerned, no other
 6    objections are timely, and I'd like to just get the money out
 7    the door.
 8                The second thing is where I'm going to put the burden
 9    on Mr. Haviland, but I'm going to require you all to talk, is
10    to figure out if there is a Track Two issue with Health Care
11    for All.     I just need to know it.         I just need to understand
12    it.   Now, Judge Bowler could take it, and I want to know if
13    there's an agreement to her; and if not an agreement, I will
14    refer it to her anyway with an appeal to either Judge Young or
15    Judge Stearns.       I mean, that's how I'm going to, I think -- I
16    have to find out who's -- now that I hear there's some concern,
17    maybe I'd go to Judge Young.          But he's lightning quick.             I
18    mean, he'll turn it around in no time at all, so I'm not
19    worried about a delay there, but the delay may be if there's a
20    need for any kind of discovery.           And so that's Track Two, but I
21    don't want to wait till June to do that.              I sort of would like
22    to do that beforehand, so when June comes in, we're ready if
23    there's any kind of an outstanding issue.              And it sounds like
24    there isn't.      It sounds like there's going to be no cy pres.
25                It was your concern, Mr. Haviland, that there was



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 1    going to be money going to one of them?
 2                MR. HAVILAND:      On Track Two?
 3                THE COURT:     Yes.    Now that they're eschewing it,
 4    they're saying that there's no money going in any cy pres, I
 5    think the issue may be over.
 6                MR. HAVILAND:      It may be.     I haven't looked at it in a
 7    long time.
 8                THE COURT:     So think about it and get back to me
 9    within the same time period about whether there's still an
10    issue.     So is there anything else I need to do?
11                MR. MATT:     We do have one request, your Honor.
12                THE COURT:     Yes.
13                MR. MATT:     While we would hope you wouldn't reduce
14    attorneys' fees, if you're going to do it for Class 1, it would
15    be great to get some guidance from you right now on your
16    thoughts because it does go into the rebalancing exercise we're
17    about to do.
18                THE COURT:     That's fair enough.        I haven't finally
19    made up my mind yet.        I was thinking 30 for Classes 2 and 3 and
20    28 for Class 1 is what I was thinking.
21                MR. MATT:     Okay.    We'll proceed to run numbers based
22    on that.
23                THE COURT:     And you may urge me to reconsider and give
24    me options, but basically that kind of thought process.
25                Let me just also say this:         That I grant the amount



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 1    for compensation payments.           You're going to get the amount for
 2    your two in.      There's one problem I had with one of the
 3    requests, which it looks as if she was from -- you said there
 4    was a typographical error and she did not get paid out of the
 5    Glaxo fund?
 6                MR. MATT:     Yes.    Mr. Wexler?      Well, Jen can explain
 7    it.
 8                MS. CONNOLLY:      Yes, that's exactly what happened.                  We
 9    meant to submit her --
10                THE COURT:     What's her name now?
11                MS. CONNOLLY:      I'm actually forgetting.
12                THE COURT:     It begins with a C.         I have it somewhere
13    here.
14                MS. CONNOLLY:      Let's see.      It may have been Nelson?
15                THE COURT:     Anyway, one of the women, there was a
16    substantial sum.        She was up at $10,000, and everyone else is
17    at $1,000.
18                MS. CONNOLLY:      Right, that's right, your Honor.
19                THE COURT:     And so the $1,000 and $2,000 seemed
20    perfectly reasonable, but $10,000 seemed totally out of whack.
21                MS. CONNOLLY:      Well, what's happened, your Honor, is,
22    the TPPs we submit to you with every single settlement because
23    they have coverage for all the drugs.              For consumers, what
24    we've tried to do is give you a total amount that they're
25    entitled to, and then we would divide that up based on the



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 1    defendants' drugs that they were administered.               So,
 2    hypothetically, if there were a consumer who took one GSK drug
 3    and one BMS drug, then we would take 50 percent of that award
 4    from GSK --
 5                THE COURT:     Ms. Choice, that's what it was,
 6    Ms. Choice.
 7                MS. CONNOLLY:      Thank you, your Honor.        Then it would
 8    be 50 percent from GSK and 50 percent from BMS.                With regard to
 9    Ms. Choice, there was a mistake where we did not submit her
10    amount for the GSK settlement, and she was one of the consumers
11    who came here to testify at trial in Boston.               She actually --
12                THE COURT:     But I can't pay it out of this class.                  So
13    I can only pay out of this class what she did for this class.
14                MS. CONNOLLY:      Well, but her testimony at trial was
15    actually for this class.         I mean, that's where the injustice
16    comes because not only did we --
17                THE COURT:     But then I'm going to pay her for this
18    class, but I'm not going to pay her for GSK.
19                MS. CONNOLLY:      But it's not actually for GSK time.
20    The time that she has done, the vast majority of her time is
21    going to be with regard to the BMS case because that's what she
22    came to Boston to testify at trial for.             So, yes, we forgot to
23    ask you in GSK --
24                THE COURT:     Well, just give me her time for BMS.                 Her
25    flying here her, her taking the time to do it, et cetera, is



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 1    probably going to be close to that, right?
 2                MS. CONNOLLY:      It will be close to that, your Honor,
 3    yes.    We can submit you a revised declaration that will reflect
 4    that.
 5                THE COURT:     Yes.     Is GSK totally paid out?
 6                MS. CONNOLLY:      Yes.
 7                THE COURT:     There's none of those little thousand or
 8    two cy pres type moneys?           There's no little dribs or drabs
 9    left?
10                (Discussion off the record between plaintiff counsel.)
11                THE COURT:     No, nothing?
12                MR. MACORETTA:        We believe GSK is done, your Honor,
13    yes, yes.
14                THE COURT:     All right.     Well, then I will pay.            It
15    sounds like most of it will be paid anyway.               I just can't pay
16    her for GSK time.
17                MS. CONNOLLY:      I understand.
18                THE COURT:     If you can fairly and fully allocate it to
19    BMS time, I'm happy to pay.
20                MS. CONNOLLY:      Okay, so we will submit a revised
21    declaration with regard to Ms. Choice.             There's likewise
22    another representative where there is a similar error where we
23    will submit that to you.           You will have the total number in the
24    order that we submit to you.
25                THE COURT:     All right.



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 1                MR. HAVILAND:      I wanted to give you a little heads-up.
 2    I had a colleague call Mrs. Hopkins.             I haven't spoken to her
 3    since the trial.       I understand she's got probably close to 200
 4    hours.    She came out to Boston and did a lot of prep work.                      You
 5    said that $10,000 sounds like a lot.             I told my colleague to go
 6    back and work with her on the time and see what she was
 7    claiming for.
 8                THE COURT:     The number of hours on BMS?
 9                MR. HAVILAND:      She was doing a lot of work on document
10    collection and so on, so we have to look at it.                I wouldn't be
11    surprised if Reverend Aaronson and Mrs. Hopkins have over 100
12    hours, given the time for the trial and the prep work.                    As I
13    understand, Judge, we're going to have to sit down with them
14    and go through it, but whatever had been put forward, it will
15    have been vetted by us, and we'll send it to class counsel to
16    make sure they at least know the position of the client.                      I
17    just wanted to give you a heads-up that that's what I heard
18    before I came out here today, that the client's position, they
19    spent a lot of time on this case, so we need to --
20                THE COURT:     Well, it's got to be reasonably spent, so
21    obviously anything going through their own personal medical
22    records, their time testifying, their time at a deposition, and
23    perhaps a few conferences with you, but I'm not going to pay
24    them to go through all the documents in the case.
25                MR. HAVILAND:      Right.    No, I understand that.



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 1    Reverend Aaronson with two deaths and a lot of prep, I could
 2    see that getting up there, though, considering all the time.
 3                THE COURT:     What I think is reasonable is for him to
 4    go through his own stuff and his own deposition and his own
 5    trial and perhaps a conference with you about this case.
 6                MR. HAVILAND:        That's helpful, Judge.      Thank you.
 7                THE COURT:     On the merits, not the objections, not
 8    the --
 9                MR. HAVILAND:        That's helpful.     With that I can --
10                THE COURT:     You can just sort of blame me.            It's about
11    the case, it's about preparing the case on behalf of the class.
12                MR. HAVILAND:        That's very helpful.      You understand
13    perceptions of clients.
14                THE COURT:     Yes, yes, blame me.        He's probably blamed
15    me enough anyway, but --
16                So I think that does it.         Thank you very much.           I am
17    hoping to put this to bed.           And then the Track Two is on track?
18                MS. CONNOLLY:        That's correct.
19                MR. MATT:     Yes.
20                MS. CONNOLLY:        It's on schedule.
21                THE COURT:     All right.     And then come June, if the
22    cards are played correctly, this is the end of this case?
23                MR. MATT:     It's entirely possible.
24                MS. CONNOLLY:        Absent appeals.
25                THE COURT:     I'm looking at you, Mr. Haviland.



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 1                MR. HAVILAND:      Your Honor, I've completely settled the
 2    Pennsylvania Attorney General case, so I'm pleased to say that
 3    I'm happy to get these cases over with.
 4                THE COURT:     I still have a few of the state cases, but
 5    that's not your hunt.
 6                MR. HAVILAND:      Oh, I'm sorry.      Mr. Tretter reminds we
 7    have post-trial on his verdict --
 8                THE COURT:     Yes, but I'm talking about my MDL with you
 9    all should be roughly over in June.
10                MR. MACORETTA:      We're still waiting on your Honor to
11    rule on the Johnson & Johnson motion that was briefed in
12    November.     Both sides have waived oral argument.             That's on
13    our --
14                THE COURT:     All right.     All right, she knows.
15                You're going to be victims of the budget crisis,
16    you're about to be.        You all look at me quizzically.             Why?
17    Because I don't get any more third law clerk because there's no
18    money for them.       So I am trying to wrap up as much as I can in
19    this clerkship cycle because after that, it's just going to be
20    very difficult for me.         So you yourselves are victims.
21                MR. TRETTER:     Thank you, your Honor.
22                THE COURT:     We stand in recess.
23                MR. MATT:     Thank you, your Honor.
24                MR. HAVILAND:      Thank you, Judge.
25                (Adjourned, 4:03 p.m.)



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 3
      UNITED STATES DISTRICT COURT )
 4    DISTRICT OF MASSACHUSETTS    ) ss.
      CITY OF BOSTON               )
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 7                I, Lee A. Marzilli, Official Federal Court Reporter,
 8    do hereby certify that the foregoing transcript, Pages 1
 9    through 91 inclusive, was recorded by me stenographically at
10    the time and place aforesaid in Civil Action No. 01-12257-PBS,
11    In Re:     Pharmaceutical Industry Average Wholesale Price
12    Litigation, and thereafter by me reduced to typewriting and is
13    a true and accurate record of the proceedings.
14           In witness whereof I have hereunto set my hand this 30th
15    day of March, 2011.
16

17

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19

20                      /s/ Lee A. Marzilli
                        __________________________________
21                      LEE A. MARZILLI, CRR
                        OFFICIAL FEDERAL COURT REPORTER
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